Case 2:19-cv-OlO46-KSH-CLW Document 1-1 Filed 01/24/19 Page 1 of 106 Page|D: 9

EXHIBIT A

Case 2:19-cV-01046-KSH-CLW Documeht 1-1 Filed 01/24/19 Page 2 of 106 PagelD: 10

Case Number: BER DC-016795-18
Case Caption: Hoffman Vs Nissan-lnfiniti Lt
Court: Special Civil Part Venue: Bergen

Case Type: Contract Dispute

Case Track: Judge:

Case Disposition: Defau|tBy Statewide Lien_ NO
C|erk -
Plalntiffs

Harold M Hoffman
Party Description: individual
Address Line 1: 240 Grand Ave

City: Englewood State: NJ
Attorney Emai|: HOFFMAN.ESQ@VER|ZON.NET

Defendants
Nissan-lnfiniti Lt

Party Description: Business

Address Line 1: C/O V\hlmington Trust Company

Case Status: Defaulted

Special Civil Part Case Summary

Case initiation Date: 10/19/2018
Demand Amount: $15,000.00

Jury Demand: Six

Address Line 2:

Zip: 07631

Address Line 2: Rodney Square
N., 1100 N. lVlarket St.

Age: OO YR 00 MO

Disposition Date: 11/30/2018

Attorney Name: Haro|d M Hoffman
Attorney Bar |D: 006531984

Phone: (201) 569-0086

Attorney Name:

Attorney Bar |D:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

City: Wilmington State: DE Zip: 19890 Ph°ne? (302) 536-6543
Attorney Emai|:
Case Proceeding
g;‘::ted $§:eeduled gggg Judge Name Proceeding Description Motion Type P{:§;edi"g Motion Status
. JOSEPH G : lVlOT|ON TO CORRECT
11/07/2018 m 08.45 3328 MONAGHAN l MOT|ON HEA_R_|NG METADATA COMPLETED CM
Case Actions
Filed Date Docket Text Transaction |D Entry Date
A Complaint for BER-DC-O16795-18 submitted by HOFFMAN, HAROLD lVl, HAROLD M.
10/19/2°18 , HOFFMAN on be@fo_fHARoLD ivi HOFFMAN against NissAN-iNFiNiTi i_T SCP2§1823585_94 10/19/2°18
_10/2_0/2018 Summons Mailed Notice submitted by Case Management SCP20182372320 10/20/2018
i DEF|C|ENCY NOTlCE: re: Comp|aint [SCP20182368594] -Data Submitted Does Not
10/22/2018 l Match Documents. Defendant's address does not match the address in the complaint ln SCP20182378034 10/22/2018
order to correct the metadata, § m_otion must be made pursuant to R. 1:5-6.
l MOTlON TO CORRECT METADATA Submitted by HOFFMAN, HAROLD, M of HAROLD
1002/2018 i ivi, i-ioFFiviAN on banaif of HAROLD ivi HOFFMAN against NissAN-iNFiNiTi LT _ §PZMS”§OSS“ h 1092/2018
The motion filed on 10/22/2018 will be decided on 11/07/2018. Do not come to the '
10/22/2018 courthouse because no oral argument has been requested The court's decision will be SCP20182386094 10/22/2018
_ provided to you. Re: |V|OT|ON TO CORRECT METADATA [SCP§0182380664] .
11/5/2018 Proof of Service from US_PS_ SCP20182524356 l 11/5/2018
ORDER TO CORRECT lVlETADATA-Granted by Judge MONAGHAN, JOSEPH, G re:
11/15/2018 MOT_|LTQ CORRECT METADATA [Scp20182380654] _ _ SCP20182602292 11/15/2018
| Answer submitted by SATEARY, THO|VlAS, J Of LlNDABUR¥ MCCOR|V||CK
12/18/2018 l E(SJLA;\:BRONOK & COOPER on behalf Of N|SSAN-|NFlN|T| LT against HAROLD M SCP20182876873 12/18/2018
H MA
| _ _ __
DEFlC|ENC¥ NOTlCE: re: ANSWER [SCP20182876873] -Defendant has been in default
12/19/2018 as of 11/30/15. Per R 6:3-1 Stip to Extend Time does not apply to Special Civi| Part cases SCP20182882673 12/19/2018
Please resubmit with the proper pleading to vacate default - BC
CORRECTED: CONSENT ORDER submitted by SATEARY, THOl\/lASl J of LlNDABURY
12/26/2018 MCCORMlCK ESTABROOK & COOPER on behalf of NlSSAN-lNF|N|Tl LT against SCP20182922759 12/26/2018
HAROLD M HOFFMAN i
Answer submitted bé SATEAR¥, THO|VlAS, J of L|NDABURV MCCORM|CK [
12/26/2018 ESTABROOK & CO PER On behalf of N|SSAN-lNFlN|T| LT against HAROLD M SCP20182922814 12/26/2018
HOFF|V|AN
initzgsatir€§”~”gi assist by SAJE¢¢Y
TH lVlA , J o L ORlVllCK E TABR on be al o
1297/2018 NisSAN-iNFiNiTi LT against HAROLD ivi HOFFMAN Fiiing Type has bean changed to SCP20182939°82 12/27'2018
ORDER - NO MOT|ON by Case Management Staff
12/27/2018 AMENDED COlVlPLAlNT submitted by HOFFMAN, HAROLDl M SCP20182942782 1/7/2019
1/7£01£ _ CLERK NOTlCE: re: AMENDED COMPLAINT SCP20182942841 -Dupllcate. _ SCP20194610€_)_ __ _ 1/7/2019
1/8/2019 Summo£l\{lai|ed Notice submitted by Case Management SCP201948979 1/8/2019
CERT|F|CATlON - CERT|F|CATlON Submitted by HOFFMAN, HAROLD, M of HAROLD
191/2019 ivi, HOFFMAN on banaifof HAROLD ivi_HoFFi\/iAN against NissAN-iNFiNiTi LT 50'°2019167728 1/21/2019 ___ _

 

 

 

 

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0 4Trans|D: S P201823685

-h

HAROLD M. HOFFMAN, ESQ.
ATTORNEY ID # 006531984
240 GRAND AVENUE
ENGLEWOOD, N] 07631
(201) 569-0086
HOFFMAN.ES\;@\/MJN.NEI

 

ATTORNEY FOR PLAINTIFF
SUPERIOR COURT OF NEW ]ERSEY
BERGEN COUNTY
HAROLD M_ HOFFMAN, SPECIAL CIVIL PART
P]aintjff/ DOCKET NO.: BER-DC- -18
-against-
CIVIL ACTION
NISSAN-INFINITI LT,
COMPLAINT
Defendant.

 

 

1. At all times relevant, Plaintiff Harold M. Hoffman Was a resident of Bergen

County New ]ersey.

2. At all times relevant, Defendant Nissan-Infim'ti LT Was a trust and/ or
corporation organized and existing pursuant to the laws of the State of Delaware With its

principal place of business located in Franklin, TN.

3. In May Of 2015, Plaintiff leased a 2015 Infiniti QSO Sedan, for a 139-month lease
term, from an lnfiniti dealership called Kings Infin_iti, Inc. (”Kings”), located in Brooklyn,

NeW Yorl<. In that connection, Plaintiff and Kings entered into a Written lease agreement

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dated May 26, 2015 (the ”Lease"). Thereafter, Kings, as Lessor, assigned its interest in the

Lease to Defendantl The Lease concluded, by its terms, in August Of 2018.

4. The Lease provides that Defendant may, at the end of the lease term, assess
charges related to ”excessive Wear and use" of the leased vehicle. Pursuant to express terms
of the Lease, a prerequisite to any such assessment of charges is inspection of the leased
vehicle and determination of alleged excessive wear and use by ”an appraiser licensed

pursuant to the N.Y. Vehicle and Traffic Law § 398(d)..." ("Licensed Appraiser”).

5. Defendant had the Plaintiff's leased vehicle inspected in August 2018 by a
M-Licensed Appraiser. Nonetheless, Defendant billed the Plaintiff, in September of 2018,

for alleged excessive wear and use in a sum exceeding $1,200.00.

6. Moreover, the Lease fails to define the term excessive wear and use, or to
distinguish it in any fashion, from ordinary and/or customary wear and use attributable to

a Vehicle in ordinary and/or customary use for a 39-month lease period.

7. The Wear and use found by Defendant to constitute excessive wear and use,
resulting in charges to Plaintiff exceeding $1,200.00, Was an arbitrary, self-serving finding

by Defendant

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8. The Wear and use found by Defendant to constitute excessive wear and ase,
resulting in charges to Plaintiff exceeding $1,200.00, Was not ”excessive," but rather normal,
ordinary and customary Wear and use of a vehicle in use by a lessee over the course of a 39-

month lease period.

9. Upon information and belief, Defendant expends no sum at all devoted to
repair of its leased vehicles, including but not limited to Plaintiff’s leased vehicle,
attributable to the arbitrary, bogus and fabricated excessive wear and use charges that

Defendant customarily imposes on vehicle lessees at the end of the lease period.

10. Upon information and belief, Defendant, at the end of vehicle lease terms,
sells its leased vehicles at periodic mass auction. Upon information and belief, the sales
price derived by Defendant for previously leased vehicles sold at such auctions is not
diminished by the arbitrary, bogus and fabricated excessive wear and use charges that

Defendant imposes on vehicle lessees at the end of lease periods

11. Defendant’s excessive wear and use scam, as outlined above, is an artifice
employed by Defendant to profit at the expense of its lessees, including Plaintiff, in breach

of its lease agreements With its lessees, including but not limited to Plaintiff herein.

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12. Defendant’s excessive wear and use scam, as outlined above, is an artifice
employed by Defendant to illicitly exploit and defraud its lessees, including but not limited

to the Plaintiff herein.

13. As a consequence of the foregoing, Plaintiff has been damaged in an amount

to be proven at trial, presently believed to be in an amount not exceeding $15,000.00.

WHEREFORE, Plaintiff demands judgment against the Defendant in an amount to
be proven at trial presently believed to be in an amount not exceeding $15,000.00, together

With costs of suit and such other and further relief as the Court deems just and proper.

 

Harold M. Hoffman, Esq.

Dated: October 19, 2018

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Court’s Address and Phone Number: Superior Court of New Jersey
BERGEN Special Civil Part Law Division, Special Civil Part
10 MAIN STREET, ROOM 427 BERGEN County
HACKENSACK, NJ 07601-0000 Docket No: BER-DC-016795-18
201 -22 l -0700 Civil Action
CONTRACT DISPUTE
_ YOU ARE BEING SUED!
Person or Business Suing You (Plaintim Person or Business Being Sued (Defendant)
HAROLD M. HOFFMAN NISSAN-INFINITI LT
Plaintiff’s Attorne\l Information The Person or Business Suing You Claims You Owe the
HAROLD M HOFFMAN Following:
HAROLD M. HOFFMAN Demand Amount $15000.00
240 GRAND AVE Filing Fee $l75.00
ENGLEWOOD, NJ 0763 1-43 52 Service Fee $7.00
201-569-0086 Attornev’s Fees $0.00
TOTAL $15182.00

 

 

FOR JUDICIARY USE ONLY

In the attached complaint, the person or business suing you briefly tells the court his or her version of the facts of the case and how much

_ money he or she claims you owe. If you do not answer the complaint, you may lose the case automatically and the court may give the
l plaintiff what the plaintiff is asking for, plus interest and court costs. You have 35 days from the date of service to t'lle your answer
l or a signed agreement If a judgment is entered against you, a Special Civil Part Officer may seize your money, wages or personal
property to pay all or part of the judgment Thejudgment is valid for 20 years.

IF YOU DISAGREE WITH THE PLAINTIFF’S CLAIMS, A WRITTEN ANSWER OR SIGNED AGREEMENT MUST BE
RECEIVED BY THE COURT ABOVE, ON OR BEFORE 11/30/2018, OR THE COURT MAY RULE AGAINST YOU. IF Y()U
DISAGREE WITH THE PLAINTIFF, YOU MUST DO ONE OR BOTH OF THE FOLL()WING:

l. Answer the complaint. An answer form that will explain how to respond to the complaint is available at any of the New Jersey Special
Civil Part Off`ices or on the Judiciary’s Internet site nicourts.gov under the section for Forms. If you decide to file an answer to the
complaint made against you:

0 Fill out the Answer form AND pay the applicable filing fee by check or money order payable to: Treasurer, State of New Jersey.
Include BER-DC-016795-18 (your Docket Number) on the check.

¢ Mail or hand deliver the completed Answer form and the check or money order to the court’s address listed above.

o Hand deliver or send by regular mail a copy of the completed Answer form to the plaintiff’s attorney. If the plaintiff does not have
an attorney, send your completed answer form to the plaintiff by regular and certified mail. This MUST be done at the same time

l you file your Answer with the court on or before 11/30/2018.

 

2. Resolve the dispute. Contact the plaintiff‘s attomey, or contact the plaintiff if the plaintiff does not have an attorney, to resolve this
dispute The plaintiff may agree to accept payment arrangements If you reach an agreement, mail or hand deliver the SIGNED
agreement to the court’s address listed above on or before 11/30/2018.

Please Note - You m`ay wish to get an attorney to represent you. If you cannot afford to pay for an attorney, free legal advice may be
available by contacting Legal Services at 201-487-2166. If you can afford to pay an attorney but do not know one, you may call the Lawyer
Referral Services of your local County Bar Association at 201-488-0044. Notify the court now if you need an interpreter or an
accommodation for a disability for any future court appearance

/s/ Miche|le M. Smith
Clerk of the Superior Court

 

 

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Direccion y teléfono del tribunal El Tribunal Superior de Nueva Jersey
Parte Civil Especial de BERGEN Divisi(')n de Derecho, Parte Civil Especial
10 MAIN STREET, ROOM 427 Condado de BERGEN
HACKENSACK, NJ 07601-0000 Numero del expediente BER-DC-016795-18
20 l -22 l -0700 Demanda de Accit')n Civil
NOTIFlCACION DE DEMANDA
CONTRACT DISPUTE

 

 

;LE ESTAN DEMANDANDO!

 

Persona o entidad comercial que le esta demandando (el Persol£\ o comercial ser demandada (el demandado)
demandantei NISSAN-INFINITI LT
HAROLD M. HOFFMAN

La persona 0 comercial que le esta demandando afirma que

 

 

 

lnformaci<')n sobre el abogado del demandante usted le debe lo siguiente:

HAROLD M HOFFMAN Cantidad a la vista $15000.00
HAROLD M. HOFFMAN Tasa judicial $175.00
240 GRAND AVE Cargo del emplazam'iento $7_00
ENGLEWOOD, NJ 07631-4352 Honorarios del abogado $0.00
201-569-0086 TOTAL $15182.00

PARA USO EXCLUslvo DEL PODER JUDiCIAL

En la demanda adjunta la persona o entidad comercial que le esta demandando le informa brevemente al juez su version de los hechos de la
causa y la suma de dinero que afirma que usted le debe. Si usted no responde a la demanda puede perder la causa automaticamente y el
juez puede dar al demandante lo que estzi pidiendo mas intereses y los costos legales. Usted tiene 35 dias a partir de la fecha del
emplazamiento para presentar su respuesta o un acuerdo firmado. Si se dicta un fallo en su contra, un Oflcial de la Parte Civil Especial

puede embargar su dinero, sueldo o sus bienes muebles (personales) para pagar todo el fallo o una parte del mismo. El fallo es valido por 20
anos.

Sl USTED NO ESTA DE ACUERDO CON LAS ALEGAClONES DEL DEMANDANTE, EL TRIBUNAL TIENE QUE RECIBIR
UNA RESPUESTA POR ESCRITO O UN ACUERDO FIRMADO PARA EL 11/30/2018 O ANTES DE ESA FECHA, 0 EL JUEZ
PUEDE EMITIR UN FALLO EN SU CONTRA. SI USTED NO ESTA DE ACUERDO CON EL DEMANDANTE, DEBE HACER
U_N_/_\_ DE LAS SIGUIENTES COSAS O LAS DOS:

l. Responder a la demanda. Un formulario de respuesta que le explicara como responder a 1a demanda esta disponible en cualquiera de las
Oficinas de la Parte Civil Especial de Nueva Jersey o en el sitio Intemet del Poder Judicial n'cou!ts.uov bajo 1a seccic')n de formularios
(Forms). Si usted decide presentar una respuesta a la demanda que se hizo en su contra:

0 Llene el formulario de Respuesta Y pague la tasa judicial de presentacion que corresponda mediante un cheque o giro bancario 0
postal acreditable al: "Treasurer, State of New Jersey " (Tesorero del Estado de Nueva Jersey). Incluya
BER-DC-016795-18 (el numero de su expediente) en el cheque.

0 Envie por correo el formulario de Repuesta llenado y el cheque o giro bancario o postal a la direccién del tribunal que figura mas
arriba, o entréguelos personalmente en dicha direccic')n.

o Entregue personalmente b envie por correo comun una copia del formulario de Repuesta llenado al abogado del demandante Si el
demandante no tiene abogado, envie su formulario de respuesta llenado al demandante por correo oomi'ln y por correo certificado.
Esto SE TIENE 'que hacer al mismo tiempo que presente su Respuesta al tribunal a mas tardar el 11/30/2018.

2. Resolver la disputa. Comuniquese con el abogado del demandante, o con el demandante si éste no tiene abogado, para resolver esta
disputa. E| demandante puede estar de aeuerdo con aceptar arrengs de pago. Si llegara a un acuerdo, envie por correo o entregar
personalmente el acuerdo FIRMADO a la direccic')n del tribunal que figura mas arriba, o entréguelo personalmente en dicha
direccion a mas tardar el 11/30/2018.

Nota - Puede que usted quiera conseguir que un abogado para que lo represente. Si usted no puede pagar a un abogado, podria obtener
consejos legales gratuitos si se comunica con Legal Services (Servicios Legales) llamando al 201-487-2166. Si usted puede pagar a un
abogado, pero no conoco a ninguno, puede llamar al Lawyer Referral Services (Servicios de Recomendacit')n de Abogados) del Colegio de
Abogados (Bar Association) de su condado local al 201-488-0044. Notifique al tribunal ahora si usted necesita un intérprete o un arreglo por
una discapacidad para cualquier comparecencia futura en el tribunal.

/s/ Michelle M. Smith

Subsecretarioi a) del Tribunal Superior

 

 

 

 

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BERGEN SPECIAL CIVIL PART
BERGEN COUNTY COURTHOUSE
BERGEN COUNTY JUSTICE CENTER
HACKENSACK NJ 07601-7580
(201) 221-0700
CASE NUMBER:
BER DC-016795-18
HOFFMAN :
VS CVOZlO : OCTOBER 19, 2018
NISSAN-INFINITI LT '

A SUMMONS WAS MAILED TO : HAROLD M HOFFMAN

DEFENDANT(S) ON 10-23-18 FOR : HAROLD M. HOFFMAN
CASE DC~016795-18. UNLESS : 240 GRAND AVE
OTHERWISE NOTIFIED, THIS CASE

WILL DEFAULT ON 11-30-2018. : ENGLEWOOD NJ

07631-4352

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SUPER|OR COURT OF NEW JERSEY - eCOURTS

The following deficiency notice is being sent from eCourts:

Plaintiff Name: HAROLD M HOFFMAN

Defendant Name: N|SSAN-|NF|N|T| LT

Case Caption: HOFFMAN VS N|SSAN-|NF|N|T| LT

Case Number: BER DC 016795-18

DocketText: DEF\C|ENCY NO'¥|CE: re: Compiaint SCP20182368594 -Data Submitted Does Not Match Documents. Defendant’s
address does not match the address in the compiaint. in order to correct the metadata, a motion must be made
pursuant to R. 1:5-6.

Transaction |D: SCP20182378034

Notice has been electronically mailed to:
Plaintiff Attorney HAROLD M HOFFMAN HOFFMAN.ESQ@VER|ZON.NET
HAROLDHOFFMANESQ@GN|A|L.COM

Notice was not electronically mailed to:
Defendant N|SSAN-|NF|N|T| LT C/O W|LM|NGTON TRUST CO|V|PANY, RODNE¥ SQUARE N., 1100 N.

MARKET ST., VV|Ll\/||NGTON, NJ 19890
Login to eCourts to view the Case Jacket. You will need a valid user |D (Bar |D) to view the submitted documents
For questions, please contact the Superior Court Specia| Civil Part in county of venue..

This communication is for notification purposes on|y.

This emai| was sent from a notification-only address that cannot accept incoming mai|. P|ease do not reply to this message.

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BER-DC-O16795-18 10/22/2018 12;01:16 PI\/| Pg 1 of2 Trans |D: CP20182380664

HAROLD M. HOFFMAN, ESQ.
ATTORNEY ID # 006531984
240 GRAND AVENUE
ENGLEWOOD, N] 07631

(201) 569-0086
}'{OIMXN.ESQ@VERIZON.NET
ATTORNEY FOR PLAINTIFF

 

SUPERIOR COURT OF NEW ]ERSEY

BERGEN COUNTY
HAROLD M_ HOFFMAN, SPECIAL CIVIL PART
Plaintiff/ DOCKET NO.: BER-DC-16795-18
-against-
CIVIL ACTION

NISSAN-INFINITI LT,

Defendant.

 

 

NOTICE OF MOTION TO CORRECT METADATA

PLEASE TAKE NOTICE that at a time to be fixed by the Court, Plaintiff Will
move for an order pursuant to R. 1:5-6 Correcting metadata inadvertently entered upon
filing of the Complaint; specifically, Plaintiff erroneously entered the address Of
Defendant’s registered agent as located in Wilmington, N[, as opposed to Wilrnington,
L.

PLEASE TAKE FURTHER NOTICE that in support of his motion, Plaintiff Will

rely upon the accompanying Certification and exhibit.

Case 2:19- -c-v 01046- KS|-|- CLW Doc cum ment 1-

1 Fi led 01/24/19 Pa§e 16 of 106 Page|D: 24
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CP20182380664

PLEASE TAKE FURTHER NOTICE that pursuant to R. 1:6-2, a proposed form

of Order is submitted herewith.
/ w
/§@ @(/

Harold M. Hoffman

 

Dated: October 22, 2018

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BER-DC-016795-18 10/22/2018 12:01:16 Pl\/| Pg 1 of2 Trans lD: CP20182380664

HAROLD M. HOFFMAN, ESQ.
ATTORNEY ID # 006531984
240 GRAND AVENUE
ENGLEWOOD, N] 07631
(201) 569-0086
MMAN.ES\_;@\/ERIZON.NET
ATTORNEY FOR PLAINTIFF

 

SUPERIOR COURT OF NEW ]ERSEY
BERGEN COUNTY
HAROLD M‘ HOFFMAN, SPECIAL CIVIL PART

Plaintiff, DOCKET NO.: BER-DC-16795-18

-against-
CIVIL ACTION
NISSAN-INFINITI LT,

Defendant.

 

 

CERTIFICATION IN SUPPORT OF MOTION

Harold M. Hoffman, hereby certifies as follows:

1. I am the named Plaintiff in this civil action. I am also admitted to practice
before the courts of this State. I respectfully submit this certification, on personal
knowledge, in support of my motion, pursuant to R. 1:5-6, for an order correcting
metadata inadvertently entered upon filing of the Complaint; specifically, Plaintiff
erroneously entered the address of Defendant’s registered agent as located in

Wilmington, M as opposed to Wilmington, L.

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BER-DC-016795-18 10/22/2018 12:01:16 P|\/i Pg 2 of2 Trans |D: SCP20182380664

2. Defendant is a Delaware entity. Its registered agent is Wilmington Trust
Company, located at Rodney Square N., 1100 N. Market St., Wilmington, DE 19890. See,
Exhibit attached hereto.

3. When electronically entering the metadata for Defendant upon filing the
Complaint on October 19*h, I inadvertently entered Wilmington, M_`[, as opposed to
Wilrnington, E.

4. By this motion, l ask that my typographical error be corrected and the
Defendant re-served at the correct address for its registered agent (in Delaware).

l certify that the foregoing statements made by me are true. l am aware that if
any of the foregoing statements made by me are Wilfully false, I am subject to

punishmentl

A@e

 

Harold M. Hoffman

Dated: October 22, 2018

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BER-DC-016795-18 10/22/2018 12:01:16 Pl\/| Pg 1 of2 Trans lD: CP201B2380664

HAROLD M. HOFFMAN, EsQ.
A'l`TORNEY ID # 006531984
240 GRAND AVENUE
ENGLEWooD, N] 07631

(201) 569-0086

rio_FrMM.§s\ 'l@vsRizoN.NET
ATTORNEY ron PLAINTIFP

 

HAROLD M. HOFFMAN,
Plaintiff,
-against-
NISSAN-INFINITI LT,

Defendant.

 

 

SUPERIOR COURT OF NEW ]ERSEY
BERGEN COUNTY
SPECIAL CIVIL PART

DOCKET NO.: BER-DC-16795-18

CIVIL ACTION

[PROPOSED] ORDER

THIS MATTER having come before the Court on motion of Plaintiff, and the Court

having considered all papers and submissions; and good cause appearing, now therefor,

IT IS on this day of October, 2018,

ORDERED as folloWs:

1. Plaintiff's motion pursuant to R. 1:5-6, for an order correcting metadata

inadvertently entered upon filing of the Complaint is granted.

2. Defendant’s address shall be corrected to reads c/o its Registered Agent,

Wilrnington Trust Company, Rodney Square N., 1100 N. Market St., Wilrnington, DE

19890 (as opposed to Wilmington, M).

3. Defendant shall be re-served at the correct address

Case 2:19-cv-01046-KSH-CLW Documeht 1-1 Filed 01/24/19 Pa e 20 of 106 Page|D: 28
BER-DC-016795-18 10/22/2018 12:01:16 Pi\/i Pg 2 of2 Trans |D: CP20182380664

4. A copy of this Order shall be served on all counsel Who have appeared in the action

Within seven (7) days of receipt thereof by Plaintiff.

 

].s.c.

Case 2:tagefé¥e%f€fe%%§i§'Cin‘i¥z/£?fi%”i?;%'ih%'i>uFHSQ\ %f/izfr/alr% iBa§SP?zi) i§z%%€@§ige'[): 29

CERTIFICATION OF SERVICE

 

I, Harold M. Hoffman, Esq., hereby certify that the attached Moving Papers on
Plaintiff’s Motion to Correct Metadata, were Served upon defendant registered agent
on October 22, 2018, via eCourts and by prepaid, first class mail, addressed to
Wilmington Trust Company, Rodney Square N., 1100 N. Market St., Wilmington, DE
19890.

I certify that the foregoing statements made by me are true. I am aware that if
any of the foregoing statements made by me are wilfully false, I arn subject to

punishment

W@/

HAROLD M. HOFFMAN, ESQ.

 

Dated: October 22, 2018

Case 2:19-cv-01046-KSH-CLW Document 1-1 Filed 01/24/19 Pa e 22 of 106 PagelD: 30
BER-DC-O16795-18 10/22/2018 12:01:16 Pl\/l Pg 1 of1 Trans lD: P20182380664

10/22/2018

Delaware.gov

Diu'sion ofCorporations - Fi|ing

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Department of State: Division of Corporations

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Registered merits State;

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Submitting a Request

How to Form a New Business Entity
Certitications,Apostil|es & Authentication of
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Phone:

THIS |S NOT A STATEMENT OF GOOD STANDlNG

lnco;poratlon Date / 7/7/1998
2918322 Formation Date: (mm/dd/yyyy)

NlSSAN-lNFlN|Tl LT

Statutory . '
Trust Entity Type General
Domestic State: DELAWARE

REG|STERED AG ENT lNFORMAT| ON

WlLMlNGTON TRUST COMPANY

RODNEY SQUARE NORTH 1100 N. MARKET STREET

WlLM|NGTON County: New Castle
DE Postal Code: 19890
302-636-6543

Additional information is a\eilab|e for a fee. You can retrieve Status for a fee of $10.00 or

more detailed information including current franchise tax assessment1 current ti|ing history
and more for a fee 01"820.00.

Would you like

 

 

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Case 2:19-cv-01046-KSH-CLW Document 1-1 Filed 01/24/19 Page 24 of 106 PagelD: 32

SUPER|OR COURT OF NEW JERSEY - eCOURTS

The following notice is being sent from eCourts:

Plaintiff Name: HAROLD M HOFFMAN

Defendant Name: NlSSAN-lNF|N|Tl LT

Case Caption: HOFFMAN VS NlSSAN-lNFlN|T| LT

Case Number: BER DC 016795-18

Docket Text: The motion filed on 10/22/2018 will be decided on 11/07/2018. Do not come to the courthouse because no oral
argument has been requested The court’s decision will be provided to you. Re: MOT|ON TO CORRECT METADATA
SCP20182380664

Transaction |D: SCP20182386094

Notice has been electronically mailed to:
Plaintiff Attorney HAROLD M HOFFMAN HOFFMAN.ESQ@VER|ZON.NET
HAROLDHOFFMANESQ@GMA|L.COM

Notice was not electronically mailed to:
Defendant NlSSAN-lNF|NlTl LT C/O VV|LM|NGTON TRUST COlVlPANY, RODNEY SQUARE N., 1100 N.

MARKET ST., WlLl\/llNGTON, NJ 19890
Login to eCourts to view the case jacket You will need a valid user |D(Bar |D) to view the submitted documents.
For questions please contact the Superior Court Specia| Civil Part in county of venue..

This communication is for notiication purposes only.

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Case 2:19-cv-01046-KSH-CLW Document 1-1 Filed 01/24/19 Page 25 of 106 PagelD: 33

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Case 2:19-cv-01046-KSH-CLW Document 1-1 Filed 01/24/19 Page 26 of 106 PagelD: 34
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J_, UNITED STATES
F POST/.\L SERVICEm

Date Produced: 10/29/2018
STATE OF NEW JERSEY:
The following is the delivery information for Certified l\/lailTM/RRE item number 9214 8969 0117 0400

0006 2075 01. Our records indicate that this item was delivered on 10/25/2018 at 11:07 a.m. in
WlLl\/llNGTON, DE 19801. The-sca@§_e”di{nagwe_ofth_e reciDlBWLD-D-is prov' d below.

 

 

 

 

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Case 2:19-cv-01046-KSH-CLW Document 1-1 Filed 01/24/19 Pa e 28 of 106 PagelD: 36
BE|BER DC 016795-18 11/15/2018 Pg 1 of2 Trans |D: SC 20182602292 364

HAROLD M. HOFFMAN, EsQ.
ArroRNEY ID # 006531984
240 GRAND AVENUE
ENGLEWOOD, N] 07631
(201) 569-0086
HOFFMAN.ES\,J@VERIZON.NET

 

ATTORNEY FOR PLAINTIFF

SUPERIOR COURT OF NEW ]ERSEY
BERGEN COUNTY

HAROLD M_ HOFFMAN, SPECIAL CIVIL PART

Plaintiff, DOCKET NO.: BER-DC-16795-18
-against-

CIVIL ACTION

NISSAN-INFINITI LT,

Defendant [PROPCSED] ORDER

 

 

THIS MATTER having come before the Court on motion of Plaintiff, and the Court

having considered all papers and submissions; and good cause appearing, now therefor,

IT IS on this 7 day of MEMS,

GRDERED as follows:

1. Plaintiff's motion pursuant to R. 1:5-6, for an order correcting metadata
inadvertently entered upon filing of the Cornplaint is granted.

2. Defendant’s address shall be corrected to read: c/o its Registered Agent,
Wilmington Trust Company, Rodney Square N., 1100 N. Market St., Wilmington, DE
19890 (as opposed to Wilmington, _N_[).

3. Defendant shall be re~served at the correct address

Case 2:19-cv-01046-KSH-CLW Document 1-1 Filed 01/24/19 Pa e 29 of 106 PagelD: 37
BElBER DC 016795-18 11/15/2018 Pg 2 of 2 Trans lD: SC 20182602292 i64

4. A copy of this Order shall be served on all counsel Who have appeared in the action

within seven (7) days of receipt thereof by Plaintiff.

/S/ Joseph G. Monaghan
Joseph G. Monaghan, l-S-C-

 

( ) Opposed
( X ) Unopposed

Case 2:19-cv-01046-KSH-CLW Document 1-1 Filed 01/24/19 Page 30 of 106 PagelD: 38

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Case 2:19-cv-01046-KSH-CLW Document 1-1 Filed 01/24/19 Pa e 31 of 106 PagelD: 39
BER-DC-O16795-18 12/18/2018 4:42:07 Pl\/l Pg 1 of 8 Trans lD: S P20182876873

LINDABURY, MCCORMICK,

t-:sTABRooK & cooPER, P.C.
ATTORNEYS AT LAW
THOM AS .l. SATEARY, ESQ.
A'I'l`ORNEY ID NO. 015281989
53 CARDINAL DRIVE
P.O. BOX 2369
W'ESTFIELD, NEW JERSEY 07091-2369
(908) 233-6800

ATTORNEYS FOR Defendant
HAROLD M. HOFFMAN, SUPER!OR COURT OF NEW JERSEY
LAW DIVISION - BERGEN COUNTY
Plainan SPECIAL CIVIL PART

DOCKET NO. BER-DC-016795-18
v.
l Civil Act:ion
NlSSAN-INFIN_ITI, LT,
ANSWER, RULE 4:18-2 DOCUMENT

Defendant DEMAND AND DEsIGNATIoN or TRIAL
coUNsEL oN BEHALF oF DEFENDANT
NissAN-INFINITI, LT

Defendant, Nissan-lnt`initi, LT (“NILT”), by way of Answer to the Complaint,

says:

1. Defendant NILT is without sufficient knowledge and information upon
which to form a belief as to the truth of the allegations set forth in paragraph 1.

2. Defendant NILT admits the allegations set forth in paragraph 2.

3. Defendant N]LT admits the allegations set forth in paragraph 3.

4. Defendant NILT admits that the parties entered into a lease agreement and
the plaintiff is referred to same for its precise tenns, scope and conditionsl

5. Defendant NILT is without sufficient knowledge and information upon

which to form a belief as to the truth of the allegations set forth in paragraph 5.

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6. Defendant NILT admits that the parties entered into a lease agreement and
the plaintiff is referred to same for its precise terms, scope and conditions

7. Defendant NILT denies the allegations set forth in paragraph 7.

8. Defendant NILT denies the allegations set forth in paragraph 8.

9. Defendant NILT denies the allegations Set forth in paragraph 9.

10. Defenth NILT denies the allegations set forth in paragraph 10.

11. Defendant NILT denies the allegations set forth in paragraph ll.

12. Defendant NILT denies the allegations set forth in paragraph 12.

13. Defendant NILT is without sufficient knowledge and information upon
which to form a belief as to the truth of the allegations set forth in paragraph 13.

FIRST SEPARATE DEFENSE

The Complaint fails to state a claim upon Which relief can be granted as against

Defendant NILT.
SECOND SEPARATE DEFENSE

Defendant NILT at all times relevant hereto complied with all terms and

conditions of the Agreements with the Plaintiff
TI-I[RD SEPARATE DB`FENSE

The Plaintiff has failed to exhaust his administrative remedies and is therefore

barred from filing a lawsuit against Defendant NILT.
FOURTH SEPARATE DEFENSE
NILT’s actions do not constitute an unconscionable commercial practice, false

promise, misrepresentation or knowing omission ot`material fact.

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Case 2:19-cV-01046-KSH-CLW Document 1-1 Filed 01/24/19 Pa e 33 of 106 Page|D: 41
BER-DC-016795-18 12/18/2018 4:42:07 PM Pg 3 of 8 Trans |D: S P20182876873

FIFTH SEPARATE DEFENSE
The Plaintiff’s recovery is barred by the doctrines of unclean hands, laches and
estoppel
§BT_H SE_PAR_ATE_DDEN§E
The conduct complained of in the complaint and alleged resulting damages were
the result of superseding and intervening acts or omissions by third persons over whom

NILT had no control

S§VENTH SEPARATE DEFENSE
Any losses suffered by plaintiff were caused by conditions over which NILT had

no control.

EIGHTH SEPARATE DEFEN SE
NILT at all relevant times, acted reasonably and in good faith, and With due care
for the rights and safety of others and their property.
NINTH SEPARATE DEFENSE

At all relevant times, NILT complied with all applicable laws, regulations and

standards

TENTl-l SEPARATE DEFENSE
NILT could not and did not foresee the risks of the damages or injuries plaintiff

alleges
ELEVENTH` SEPARATE _l_)_EFE_NY

Plaintiff has failed to plead fraud with the requisite particularity

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Case 2:19-cV-01046-KSH-CLW Document 1-1 Filed 01/24/19 Pa§%e 34 of 106 Page|D: 42

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P20182876873

WHEREFORE, Defendant Nissan-Iniim'ti, LT demand judgment in its favor

dismissing the Complaint of the plaintifl`, together with costs oi` suit.

Dated: December 18, 2018

3031038V1

LINDABURY, MCCORMICK,

 

ESTABROOK & COOPER, P.C.
Attorneys for Defendant
Nissan-Iniiniti, LT
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By! ._ ~)"""”£? /
moma§ J. salary
j

Case 2:19-cV-01046-KSH-CLW Document 1-1 Filed 01/24/19 Pa%e 35 of 106 Page|D: 43
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RULE 4118-2 DOCUMENT DEMAND_

Pursuant to Rule 4:18-2 the plaintiff is hereby requested to furnish counsel for
defendant within five (5) days after service of the within demand a copy of all documents

referred to in the Complaint.

LINDABURY, McC()Rl\/.[ICK,
ESTABROOK & COOPER, P.C.
Attorneys for Defenth
Nissan-Infmiti, LT
/! 15

By: j 1

_ ___ ,_,___,_

Thorrt;;{s J Sat"eary

` d

Dated: Decernber 18, 2018

DESIGNATION OF TRIAL COUNSEL
Pursuant to Rule 4:5-1(0), notice is hereby given that Thornas J. Sateary, Esq., is

designated as trial counsel in the above-captioned matter.

LINDABURY, McCORMICK,
ESTABROOK & COOPER, P.C.
Attorneys for Defendant
Nissan-Inliniti, LT

. j 2. q
fay: /:¢gf;/!? ff ky
Thomas J.Bateary

 

Dated: December 18, 2018 iii

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Case 2:19-cV-01046-KSH-CLW Document 1-1 Filed 01/24/19 Pa%e 36 of 106 Page|D: 44
BER-DC-016795-18 12/18/2018 4242:07 Pl\/| Pg 6 of 8 Trans lD: S P20182876873

CERTIFICATION

Pursuant to Rule 415-1, l certify that the matter in controversy is not the subject of
any other action pending in any court or of a pending arbitration proceeding and no such
action or arbitration proceeding is contemplated l also certify that at this time there are
not any non-parties who should be joined in this action pursuant to R. 4:28 or who are
subject to joinder pursuant to R. 4:29-l(b) because of potential liability to any party on
the basis of the same transactional facts.

I further certify that a copy of the within pleading Was served within the time
allowed under Rule 4:6, and pursuant to the attached Stipulation Extending Time to

Answer.

LINDABURY, MCCORMICK,
ESTABROOK & COOPER, P.C.
Attorneys for Defendant
Nissan-lniiniti, LT

7

BY-'_\...nL____ _____ _ ___
Thomas J. §a'teat‘y

Dated: December 18, 2018

g

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B-ER DC- 016795- 18 12/18/20184 242 07 P|\/| Pg 7 0f8 Trans |D. 82876873
P_ROOF OF SERVICE

l hereby certify that the within Answer to Complaint has been forwarded, via
ELECTRONIC FILING, to the Clerk of the Superior Court, Law Division - SPECIAL
CIVIL PART, Bergen County Justice Center, 10 Main Street, Hackensack, New Jersey
07601. A true copy of same has been forwarded, via ELECTRONIC FILING and FlRST

CLASS MAIL, to the following, this 18th day ofNovember, 2017:

Harold M. Hothnan, Esq.
240 Grand. Avenue
Englewood, Ncw Jersey 07631
Attorney for Plaintiff

LINDABURY, McCORl\/IICK,
ESTABROOK & COOPER, P.C.
Attorneys for Defendant

Nissan Motor Acceptance Corp.

By: _"_':/‘: 7 /

Thorhas l Sateary
o"

Dated: December 18, 2018

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Case 2:19-0\/- 01046- KSl-l- CLW Document 1- 1 Filed 01/24/19 Pae 38 of 106 PagelD: 46
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JAMES D DeROSE ES
ArronNEY maooérzi is
LINDABURY, McCORMICK & ESTABROOK
A Professional Corporation
53 Cardinal Dn've
£Vgs't]§glii,zl%&g I 07091
ew ersey
908) 233-6800
meys for Defendant Nissan-Infiniti, LT

SUFERIOR COURT OF NEW IERSEY

HAROLD M. HOFFMAN, ; LAW DIVISION: BERGEN COUNTY
SPECIAL CIVIL PART
Plaintiff : DOCKET NO. DC-Ol6795-18
vs- : Civil Action
NISSAN-B`IFUITI, LT, : STIPULA.TION EXI'ENDING
TlME TO ANSWER OR
Defendant : OTHERW`ISE MOVE OR PLEAD

I'I` IS I-IEREBY STIPULATED AND AGREED by and between the attorney for
plaintiff and the attorney for defendant Nissan-lnfiniti,_LT, that the default entered against
the defendant be vacated and the time within which said defendant may answa', move or
otherwise plead withrespectto the Complaintbeand is herebyextendedto foraperiod of
thirty (30) days to December 30, 2018.

W, ESQ. LINDABURY McCORMICK, ESTABROOK
m 17 19
. / / \/%'M /_<Lj/M'¢w:

Attorney foyDefendant

 
   

4 omey for Flamnff

DATBD: Decembm 17, 2018

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Case 2:19-cV-01046-KSH-CLW Document 1-1 Filed 01/24/19 Page 39 of 106 Page|D: 47

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Case 2:19-cV-01046-KSH-CLW Document 1-1 Filed 01/24/19 Page 40 of 106 Page|D: 48

SUPER|OR COURT OF NEW JERSEY - eCOURTS

The following deficiency notice is being sent from eCourts:

Plaintiff Name: HAROLD M HOFFMAN

Defendant Name: NlSSAN-lNF|N|T| LT

Case Caption: HOFFMAN VS NlSSAN-|NF|N|T| LT

Case Number: BER DC 016795-18

Docket Text: DEF|ClENCY NOTlCE: re: ANSWER SCP20182876873 -Defendant has been in default as of 11/30/18. Per R 6;3-1
Stip to Extend Time does not apply to Specia| Civil Part cases. P|ease resubmit with the proper pleading to vacate
defau|t. - BC

Transaction |D: SCP20182882673

Notice has been electronically mailed to:
Plaintiff Attorney HAROLD |Vl HOFFMAN HOFFMAN.ESQ@VER|ZON.NET
HAROLDHOFFMANESQ@GMA|L.COM

Fi|er Attorney SATEAR¥, THO|VlAS, J TSATEARY@L|NDABURY.COl\/l
JMCM|LLAN@L|NDABURY.COM
SANDREACCH|@L|NDABURY.CO|V|

Notice was not electronically mailed to:
Defendant NlSSAN-INFIN|TI LT C/O W|LM|NGTON TRUST COMPAN¥, RODNE¥ SQUARE N., 1100 N.

MARKET ST., WlLl\/|INGTON, DE 19890
Login to eCourts to view the Case Jacket. You will need a valid user |D (Bar |D) to view the submitted documents.
For questions, please contact the Superior Court Special Civil Part in county of venue..

This communication is for notification purposes only.

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Case 2:19-cV-01046-KSH-CLW Document 1-1 Filed 01/24/19 Page 41 of 106 Page|D: 49

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IAMES D. DeROSE ES.
A'ITORNEY mmé?zl 8

LINDABURY McCDRMICK & ESTABROOK
A Prof feasional’Corpom tion

69
West;lieid, Ncw Jersey 07091
903) 233- 6800
nomeys for Defendant Nissan~ln;tiniti, LT

SUPERIOR COURT OF NEW JERSEY
HAROLD M. HGFFMAN, : LAW DIVISION: BERGEN COUNTY
SPECIAL CIVIL PART
Plaintit£ : DOCKET NO. DC-Oto?QS-IS
vs. : Civil Aetion
NISSAN-INFINITI, LT, : CONSENT ORDER VACATING
DEFAULT AND ALLOWNG
Defendant : DEFENDANT TO FILE ANSWER

IT IS HEREBY STIPULATED AND AGREED by and between the attorney for
pimmnd me attorney for defending Nissap-Intiniti, LT, that mo default aimed against
the defendant on November 30, 2018, be vacated and the time within which saiddefmdant
may answer, move or otherwise plead with respect to the Complaint be and is hereby
extended to J.

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30306341¢]

Case 2:19-cV-01046-KSH-CLW Document 1-1 Filed 01/24/19 Page 43 of 106 Page|D: 51

BER-DC-016795-18 12/26/2018 10112:20 Al\/l Pg 2 of 2 TranS |D: SCP20182922759

We hereby consent to tlae entry
and fonn cf the within Order.

HAROLD big Ht,).l-\L"',MAN ESQ. LINDA(I’¢)BURY M¢:CORMICK, BSTABROOK

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DATED: December 19, 2018

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Case 2:19-cV-01046-KSH-CLW Document 1-1 Filed 01/24/19 Page 44 of 106 Page|D: 52

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LINDABURY, McCORMICK.,

ESTABROOK & COOPER, P.C.
A.TTORNEYS AT LAW
THo_MAs J. sAT.F.ARY, ESQ.
ATToRNEY 1D No. 015281989

53 cARDINAL Dmv's
P.o. Box 23 69

wEerIELD, NEW JERSEY 07091~2369
(903) 233_5800

ATTORNEYS ron Dofoodom

HAROLD M. HOFFMAN, 1 SUPERlOR COURT OF NEW JERSEY
LAW DIVIS.ION - BERGEN COUNTY
SPECIAL CIVIL PART
DOCKET NO. BER-DC-Ol 6795-1 8

Plaintiff,

 

v.
Civil Action
NISSAN-INFINITI, LT,
ANSW.ER, RULE 4:18-2 DOCUMENT

Defendant z DEMANI) AND DESIGNA'rroN or TRLAL
coUNsEL oN BEHALF 0F DEFENDANT
w wl NIssAN-n~zFiNITI, LT

Defendant, Nissan-In.tiniti, LT (“NILT”), by way of Answer _to the Complaint,

says:

l. Defendant NILT is without sufficient knowledge and information upon
Which to form a belief as to the truth of the allegations set forth in paragraph l.

2. Defendant NILT admits the allegations set forth in paragraph 2.

3. Defendant NILT admits the allegations set forth in paragraph 3.

4. Defendant NILT admits that the parties entered into a lease agreement and
the plaintiff is referred to same for its precise terms, scope and conditions

5. Defendant NILT is without sufficient knowledge and information upon

which to form a belief as to the truth of the allegations set forth in paragraph 5.

3 03103 Bvl

Case 2:19-cv-OlO46-KSH-CLW Document 1-1 Filed 01/24/19 Pa e 46 of 106 Page|D: 54
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6. Defendant NILT admits that the parties entered into a lease agreement and
the plaintiff is referred to same for its precise terms, scope and conditions

7. Defendant NILT denies the allegations set forth in paragraph 7.

8. Defendant NILT denies the allegations set forth in paragraph 8.

9. Defendant NILT denies the allegations set forth in paragraph 9.

10. Defendant NILT denies the allegations set forth in paragraph 10.

l 1. Defendant NILT denies the allegations set forth in paragraph 11.

12. Defendant NILT denies the allegations set forth in paragraph 12.

l.3. Defenth NILT is without sufficient knowledge and information upon
which to form a belief as to the truth of the allegations set forth in paragraph 13.

}lRS.T SEI_’BRALTEDMI"E_E
The Complaint fails to state a claim upon which relief can be granted as against

Defendant NILT.

Defendant NILT at all times relevant hereto complied with all terms and
conditions of the Agreements with the Plaintiff.
_'_I`_Hll§D SELA_RATE DEFENSE
The Plaintiff has failed to exhaust his administrative remedies and is therefore
barred from filing a lawsuit against Defendant NILT.
§OUR'I_`H_SE_PARAFT.E DEF_EN§E
NILT’s actions do not constitute an unconscionable commercial practice, false

promise, misrepresentation or knowing omission of material fact.

3 03 103 Bv'.l

Case 2:19-cV-01046-KSH-CLW Document 1-1 Filed 01/24/19 Pa e 47 of 106 Page|D: 55
BER-DC-016795-18 12/26/2018 10;14:02 A|\/| Pg 3 of 7 Trans |D: CP20182922814

HFTH SEPAMT§ D_E_FEN_S]§
The Plaintiit’s recovery is barred by the doctrines of unclean hands, laches and

estoppel.

The conduct complained of in the complaint and alleged resulting damages were
the result of superseding and intervening acts or omissions by third persons over whom

NILT had no control.
SEVENTH SEPARA'LEDEE_EDLSE
Any losses suffered by plaintiff were caused by conditions over which NILT had

no control.
MH SEPARME_FM
NILT at all relevant times, acted reasonably and in good faith, and with due care
for the rights and safety of others and their property.
NINTH S_B’_AL{ATE DE_F@I§E
At all relevant times, NILT complied with all applicable laws, regulations and

standards
TENTH SEPARATE DEFENS'E

NILT could not and did not foresee the risks of the damages or injuries plaintiff

alleges
ELEVENTH SEPARATE D_EFEN_S_E

Plaintiff has failed to plead fraud with the requisite particularity

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WHEREFORE, Defendant Nissan-Iniiniti, LT demand judgment in its favor

dismissing the Complaint of the plaintiff, together with costs of suit.

Dated: December 18, 2018

3031038vl

LINDABURY, McCORMICK,
ESTABROOK & COOPER, P.C.
Attorneys for Defendant
Nissan-Infiniti, LT

 

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Thoma"`s J. Satetiry"

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RULE 4118-2 DOCUMENT DEMAN._D

Pursuant to Rule 4:18-2 the plaintiff is hereby requested to furnish counsel for
defendant within five (5) days after service of the within demand a copy of all documents

referred to in the Complaint

LINDABURY, MCCORMICK,
ESTABROOK & COOPER, P.C.
Attorneys for Defendant
NlSsan-Iniiniti, LT
/-’ `”

ja ` 57
By: ~, lt ;f'_ j_ _

Thoma‘~ J.' Sat€ary

Dated: December 18, 2018

DESlG‘_NATION Of TRIAL COUNSEL
Pursuant to Rule 415-1(0), notice is hereby given that Thomas I. Sateary, Esq., is

designated as trial counsel in the above-captioned matter.

L]NDABURY, McCORMICK,
ESTABROOK & COOPER, P.C.
Attorneys for Defendant
Nissan-Intiniti, LT

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By:

 

'l`homas J . ,Sateary

Dated: December 18, 2018 §

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Case 2 Jl_BQEFCZ\-/DC-016795-18 12/26/2018 10:14:02 A|\/l Pg 6 of 7 Trans |D: CP20182922814

Q§R:I`IFICATIOL\_I

Pursuant to Rule 4:5-1, l certify that the matter in controversy is not the subject of
any other action pending in any court or of a pending arbitration proceeding and no such
action or arbitration proceeding is contemplated l also certify that at this time there are
not any non-parties who should be joined in this action pursuant to R. 4:28 or who are
subject to joinder pursuant to R. 4:29-1(b) because of potential liability to any party on
the basis of the same transactional facts.

1 further certify that a copy of the within pleading was served within the time
allowed under Rule 4:6, and pursuant to the attached Stipulation Extend.ing Time to

Answer.

_LINDABURY, McCORMICK,
ESTABROOK & COOPER, P.C.
Attorneys for Defendant
Nissan-Intiniti, LT
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t /"_..j. / (',
Thoma`s J. Sateary

Dated: December 18, 2018

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MO§(ESERVICE
l hereby certify that the within Answer to Complaint has been forwarded, via
ELECTRONIC FILING, to the Clerk of the Superior Court, Law Division - SPECIAL
CIVIL PART, Bergen County Justice Center, 10 Main Street, Hackensack, New Jersey
07601. A true copy of same has been forwarded, via ELECTRONIC FILING and FIRST
CLASS MAIL, to the following, this 18th day ofNovember, 2017:

Harold M. Hoffman, Esq.
240 Grand Avenue
Englewood, New Jersey 07631
Attorney for Plaintiff

LINDABURY, McCORMICK,
ESTABROOK & COOPER, P.C.
Attomeys for Defendant

Nissan Motor Acceptance Corp.

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Dated: December 18, 2018

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SUPER|OR COURT OF NEW JERSEY - eCOURTS

The following filing type change notice is being sent from eCourts:

Plaintiff Name: HAROLD M HOFFMAN

Defendant Name: NlSSAN-|NFlN|T| LT

Case Caption: HOFFMAN VS NlSSAN-lNF|N|T| LT

Case Number: Special Civil Court: BER DC 016795-18

Docket Text: CORRECTION: : re: SCP20182922759 CONSENT ORDER submitted by SATEARY, THOMAS, J of

LlNDABURY MCCORM|CK ESTABROOK & COOPER on behalf of NlSSAN-|NF|N|T| LT against HAROLD M
HOFFMAN Filing Type has been changed to ORDER - NO MOT|ON by Case Management Staff

Transaction |D: SCP20182939082

Notice has been electronically mailed to:
Plaintiff Attorney HAROLD M HOFFMAN HOFFMAN.ESQ@VER|ZON.NET
HAROLDHOFF|V|ANESQ@GMA|L.CO|V|

Notice was not electronically mailed to:
Defendant NlSSAN-lNF|N|T| LT C/O W|LN|lNGTON TRUST CO|V|PANY, RODNE¥ SQUARE N., 1100 N.

MARKET ST., W|LM|NGTON, DE 19890
Login to eCourts to view the case jacket You will need a valid user |D(Bar |D) to view the submitted documents.
For any additional questions, please contact the Superior Court of New Jersey - Special Civil Part.

This communication is for notification purposes only.

This emai| was sent from a notification-only address that cannot accept incoming mail. Please do not reply to this message

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HAROLD M. HOFFMAN, ESQ.
ATTQRNEY ID # 006531984
240 GRAND AVENUE
ENGLEWOOD, NJ 07631
(201) 569-0086
PIQFFMAAM£_~SQ@VERIZONM

 

 

 

ATTORNEY FOR PLAlNTIFF
SUPERIOR COURT OF NEW JERSEY
BERGEN COUNTY
HAROLD M. HOFFMAN, individually and en SPECIAL CIVIL PART
behalf Of those similarly situated,
DOCKET NO.: BER-DC-16795-18
Plaintiff,
-against- CIVIL ACTION
NISSAN'!NFINITI LT, AMENDED COMPLAINT AND ]URY
DEMAND IN CLASS ACTION
Defendant
OVERVIEW

By this civil action, Plaintiff brings claims on his oWn behalf and on behalf of

those similarly situated (the "Class"), to redress financial injury inflicted by Defendant

on its vehicle lessees throughout the nation by Way of an orchestrated and cynically

executed scam, carried out through misrepresentation, deception and material

concealment The goal of the scarn, Which has Vastly enriched Defendant, Was to dupe

lessees of Defendant’s vehicles into paying arbitrary and indeed fabricated ”excessive

Wear and use" charges at the conclusion of a vehicle lease term.

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As we show, Defendant’s conduct and Scherne stands “outside the norm of
reasonable business practice.” See, Turf Lawnmower Repair, Inc. 1). Bergen Record Corp.,
139 N.]. 392, 416 (1995), cert. denied, 516 U.S. 1066 (1996). See also, Van Holt v. Lz'berty Mut.
Fire Ins. Co., 163 F.3d 161 (3d Cir. 1998) (lack of full disclosure and honesty constitutes
an unconscionable practice under the New ]ersey Consumer Fr¢zud Act).

The putative class comprises nationwide lessees of Nissan/Infiniti vehicles,
during the six year period preceding the filing of this suit, whose leases concluded with
an assessment by Defendant of charges labeled as ”excessive Wear and use" of the

leased vehicle

1. At all times relevant, Plaintiff Harold M. Hoffman was a resident of Bergen
County New ]ersey.
2. At all times relevant, Defendant Nissan-Infiniti LT was a trust and/or

corporation organized and existing pursuant to the laws of the State of Delaware With its

principal place of business located in Franl<lin, TN.

3. Defendant advertised, marketed, distributed and leased its vehicles in

commerce throughout the United States, including the State of New ]ersey.

4. At all relevant times, Plaintiff Was a vehicle lessee, with a residence in the

State of New Iersey, County of Bergen.

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5. At all relevant times, Defendant constituted a ”person" as defined in the New

Jersey Consumer Fraud Act, N.].S.A. 56:8-1(d).

6. In May of 2015, Plaintiff leased a 2015 Infiniti Q50 sedan, for a 39-rnonth lease
term, from an Infiniti dealership called Kings lnfiniti, Inc. (”Kings”), located in Brool<lyn,
New York. ln that connection, Plaintiff and Kings entered into a written lease agreement
dated May 26, 2015 (the ”Lease”). Thereafter, Kings, as Lessor, assigned its interest in the

Lease to Defendant. The Lease concluded, by its terms, in August of42018.

7. The Lease, in a mandatory form prepared and utilized by Defendant for all
of its vehicle leases, provides that Defendant may, at the end of the lease term, assess and
bill charges related to ”excessive Wear and use” of the leased vehicle. The term excessive
wear and use is not defined and/or distinguished from ordinary Wear and use of a vehicle

during the term of the lease.

8. Defendant had the Plaintiff’s leased vehicle inspected in August 2018 and
thereafter billed the Plaintiff, in September of 2018, for alleged excessive wear and use in a

sum exceeding $1,200.00.

9. As noted, the Lease fails to define the term excessive wear and use, or to

distinguish it, in any fashion, from ordinary and/or customary wear and use attributable to

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a vehicle in ordinary and/or customary use for a 39-month lease period.

10. The Wear and use found by Defendant to constitute excessive wear and ase,
resulting in charges to Plaintiff exceeding $1,200.00, Was an arbitrary, self-serving finding

by Defendant

11. The Wear and use found by Defendant to constitute excessive wear and ase,
resulting in charges to Plaintiff exceeding $1,200.00, Was not "excessive,” but rather normal,
ordinary and customary Wear and use of a vehicle in use by a lessee over the course of a

39-month lease period.

12. Defendant expends no sum at all devoted to repair of leased vehicles,
including but not limited to Plaintiff’s leased vehicle, attributable to the arbitrary, bogus
and fabricated excessive wear and use charges that Defend ant customarily imposes on vehicle

lessees at the end of the lease term.

13. Defendant, at the end of vehicle lease terms, sells its leased vehicles at
periodic mass auction. The sales price derived by Defendant for previously leased vehicles
sold at such auctions is not diminished by the arbitrary, bogus and fabricated excessive wear

and use charges that Defendant imposes on vehicle lessees at the end of lease terms.

14. Defendant’s excessive wear and use scam, as outlined above, is an artifice

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employed by Defendant to profit at the expense of its lessees, including Plaintiff, in breach

of its lease agreements with its lessees, including but not limited to Plaintiff herein.

15. Defendant’s excessive wear and use scam, as outlined above, is an artifice
employed by Defendant to illicitly exploit and financially defraud its lessees, including but

not limited to the Plaintiff herein.

16. Defendant’s excessive wear and use scam, as outlined above, violates the NeW

]ersey Consarner Fraad Act.

17. Defendant’s excessive wear and ase scam, as outlined above, has enabled
Defendant to dupe its hard-Working vehicle lessees out of millions of dollars during the

class period.

18. Plaintiff brings this suit to recover funds taken by Defendant as a

COI`\S€CIU€DC€ Of ltS €XC€SSZ"U€ ZU€L`H' and MS€ SCHIH.

19, Lessees of Defendant’s vehicles had the right to rely on Defendant’s integrity
in executing vehicle leases and are entitled to be protected from paying subjectively
fabricated charges for alleged excessive wear and use of a leased vehicle Which differs in no

material respect from ordinary wear and use that eventuates during a vehicle lease term.

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20. U.S. consumers made leasing decisions and did, in fact, enter into leases With
Defendant in reliance upon Defendant’s reputation and integrity, and confidence that
cooked-up, fabricated charges Would not be inflicted upon them at the conclusion of the

lease period.

21. Defendant has affirmatively misrepresented and misapplied, for its own

pecuniary benefit, the so-called excessive Wear and use provision of its vehicle Leases.

22, Defendant’s promises and representations concerning the terms of its vehicle

Leases and the attendant excessive wear and use charges are illegal, false and constitute a
deception,' a misrepresentation; an unconscionable trade practice; a sharp and deceitful

marketplace practice, and are a false promise

23. Defendant’s promises and representations concerning the terms of its vehicle
Leases and attendant excessive wear and use charges result in nationwide vehicle lessees

being subjected to misrepresentation, false promise, fraud, deceit, trickery and falsehood.

24. Defendant has made affirmative misrepresentations and has engaged in
concealment of material facts in connection With its vehicle leases and attendant excessive

wear and use charges .

25. Members of the putative class suffered ascertainable loss in the form of actual

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out of pocket payment and expenditure, as aforesaid, as a result of Defendants’ unlawful

conduct as aforesaid.

26. There is a direct causal relationship between the Defendant’s scam and the

loss suffered by plaintiff and class members

CLASS ALLEGATIONS

27. Plaintiff brings this suit as a class action individually and in behalf of others
similarly situated pursuant to NeW ]ersey Court Rule 4:32. Subject to additional
information obtained through further investigation and/or discovery, the definition of the
Class may be expanded or narrowed The proposed Class consists of nationwide lessees
of l\lissan/Infiniti vehicles, during the six year period preceding the filing of this suit, Whose
leases concluded with an assessment by Defendant of arbitrary charges labeled as
”excessive wear and use" of the leased vehicle. This action has been brought and may
properly be maintained as a class action pursuant to New ]ersey Court Rule 4:32.

Numerosity: The members of the Class are so numerous that joinder of all members
is impracticable The Class is comprised vehicle lessees throughout the United States.

Commonality: Common questions of law and fact exist as to all members of the

Class. These Common questions predominate over the questions affecting only individual

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Class members, and focus on the arbitrary imposition of so-called excessive Wear and use
charges

Typicality: Plaintiff’s claims are typical of the claims of the members of the Class
as all members of the Class are similarly affected by Defendants’ Wrongful conduct.
Plaintiff, like other members of the Class, Was subjected to arbitrary, excessive Wear and

use charges Plaintiff is advancing claims and legal theories typical to the Class.

Adequacy: Plaintiff’s claims are made in a representative capacity on behalf of all
members of the Class. Plaintiff has no interests antagonistic to the interests of the other

members of the proposed Class and is subject to no unique defenses.

28. Plaintiff is similarly situated in interest to all members of the proposed
Class and is committed to the Vigorous prosecution of this action. Accordingly, Plaintiff
is an adequate representative of the proposed Class and will fairly and adequately
protect the interests of the Class. Plaintiff is also an experienced attorney Who has been
previously appointed class counsel for certified classes of consumers by both state and
federal courts. Thus, Plaintiff is a qualified and suitable attorney to also serve as class
counsel. Should the Court require same as a condition to class certification, Plaintiff is

prepared to identify a suitable alternative class representative.

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29. This suit may be maintained as a class action because Defendant has acted,
and/or have refused to act, on grounds generally applicable to the Class, thereby

making final relief appropriate

30. Plaintiff does not presently seek injunctive relief.

31. Superiority: In addition, this suit may be maintained as a class action
because a class action is superior to all other available methods for the fair and efficient
adjudication of this controversy, since joinder of all members is impracticable The
claims asserted herein are applicable to vehicle lessees throughout the United States
who leased vehicles from Defendant. The injury suffered by each individual class
member is relatively small in comparison to the burden and expense of individual
prosecution of the complex and extensive litigation necessitated by Defendant’s
conduct. lt Would be virtually impossible for members of the Class individually
effectively and cost-efficiently to redress Defendant’s Wrongful conduct. Individual
litigation Would enhance delay and expense to all parties. The class action device

presents far fewer management difficulties, and provides the benefits of single

adjudication economy of scale, and comprehensive supervision by a single court.

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COUNT I

32. Plaintiff repeats and realleges the prior allegations of this complaint as if

fully set forth at length

33. Defendant’s conduct constitutes an unconscionable commercial practice in

violation of the New ]ersey Consumer Fraud Act, N.].S.A. 56:8-2.

33. As a proximate result of Defendant’s conduct, plaintiff and members of

the class were damaged

WHEREFORE, plaintiff, individually and in behalf of the class, demands
judgment against the Defendant for treble damages together with pre-judgment and
post-judgment interest, fees, costs, attorney's fees, and any other and further relief as
the Court deems just and proper.

COUNT II

34. Plaintiff repeats and realleges the prior allegations of this complaint as if
fully set forth at length.

35. Defendant’s conduct constitutes deception in violation of the New ]ersey

Consumer Fraud Act, N.].S.A. 56:8-2.

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36. As a proximate result of Defendant’s Conduct, plaintiff and members of
the class were damaged

WHEREFORE, plaintiff, individually and in behalf of the class, demands
judgment against the Defendant for treble damages together With pre-judgment and
post-judgment interest, fees, costs, attorney's fees, and any other and further relief as
the Court deems just and proper.

COUNT III

37. Plaintiff repeats and realleges the prior allegations of this complaint as if
fully set forth at length.

38. Defendant’s conduct constitutes fraud in violation of the New Jersey
Consumer Fraud Act, N.].S.A. 56:8-2.

39. As a proximate result of Defendant’s conduct, plaintiff and members of
the class Were damaged

WHEREFORE, plaintiff, individually and in behalf of the class, demands
judgment against the Defendant for treble damages together With pre-judgment and
post-judgment interest, fees, costs, attorney's fees, and any other and further relief as

the Court deems just and proper.

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COUNT IV

40. Plaintiff repeats and realleges the prior allegations of this complaint as if
fully set forth at length.

41. Defendant’s conduct constitutes false pretense false promise and/or
misrepresentation, in violation of the New ]ersey Consumer Fraud Act, N.].S.A. 56:8-2.

42. As a proximate result of Defendant’s conduct, plaintiff and members of
the class were damaged

WHEREFORE, plaintiff, individually and in behalf of the class, demands
judgment against the Defendant for treble damages together With pre-judgment and
post-judgment interest, fees, costs, attorney's fees, and any other and further relief as
the Court deems just and proper.

COUNT V

43. Plaintiff repeats and realleges the prior allegations of this complaint as if
fully set forth at length.

44. Defendant’s conduct constitutes knowing concealment, suppression
and/ or omission of material facts With the intent that others, including members of the
plaintiff-class, rely upon such concealment, suppression and/or omission, in connection
with the sale or advertisement of any merchandise in violation of the New jersey

Consumer Fraud Act, N.].S.A. 56:8-2.

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45. As a proximate result of Defendant’s conduct, plaintiff and members of
the class Were damaged

WHEREFORE, plaintiff, individually and in behalf of the class, demands
judgment against the Defendant for treble damages together With pre-judgment and
post-judgment interest, fees, costs, attorney's fees, and any other and further relief as
the Court deems just and proper.

]URY DEMAND
Demand is hereby made for trial by jury as to all issues.
TRIAL COUNSEL DESIGNATION

Pursuant to Rule 4:25-4, the Court is respectfully advised that Harold M.

Hoffman, Esq., is hereby designated as trial counsel in behalf of plaintiff,
CERTIFICATION PURSUANT TO RULE 4:5-1

Harold M. Hoffman, counsel for plaintiff, hereby certifies that the matter in
controversy is not the subject of any other known pending action in this or any other
Court or any pending arbitration, nor is any other action or arbitration known to be
contemplated At this time, no other known party, other than members of the class, are

anticipated for joinder.

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I certify that the foregoing is true to the best of my knowledge I am aware that

if any of the foregoing is Wilfully false, l am subject to punishment.

 

Harold M. Hoffman, Esq.
Counsel for Plaintiff
Dated: December 27, 2018

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Court’s Address and Phone Number: Superior Court of l§lew Jersey
BERGEN Special Civil Part Law Division, Special Civil Part
10 MAIN STREET, ROOM 427 BERGEN County
HACKENSACK, NJ 07601-0000 Docket No: BER-DC-016795-18
201-221-0700 Civil Action
CONTRACT DlSPUTE
YOU ARE BEING SUED!
Person or Business Suing You [Plainti,fi'] Person or Business Being Sued {De{end@g
HAROLD M HOFFMAN NISSAN-INFINITI LT
l
Plaintiff’s Attorne\r Information The Person or Business Suing You Claims You OWe the
HAROLD M HOFFMAN Following:
HAROLD M. HOFFMAN Demand Amount $15000.00
240 GRAND AVE Filing Fee $.00
ENGLEWOOD, Nl 07631-4352 Service Fee $.00
201-569-0086 , Attome\-’s Fees $0.00
, TOTAL $15000.00

FoR JlichlARY UsE ONLY

In the attached complaint, the person or business suing you briefly tells the court his or her version of the facts of the case and how much
money he or she claims you owe. lf you do not answer the complaint, you may lose the case automatically and the court may give the
plaintiff what the plaintiff is asking for, plus interest and court costs. You have 35 days from the date of service to tile your answer
or a signed agreement If a judgment is entered against you, a Special Civil Part Offlcer may seize your money, wages or personal
property to pay all or part ofthe judgment Thejudgment is valid for 20 years.

IF YOU DISAGREE WITH THE PLAINTIFF’S CLAIMS, A WRITTEN ANSWER OR SIGNED AGREEMENT MUST BE
RECEIVED BY THE COURT ABOVE, ON OR BEFORE 02/19/2019, OR THE COURT MAY RULE AGAINST YOU. IF YOU
DISAGREE WITH THE PLAINTIFF, YOU MUST DO ONE OR BOTH OF THE FOLLOWING:

l. Answer the complaint. An answer form that will explain how to respond to the complaint is available at any of the New Jersey Special
Civil Part Offlces or on the Judiciary’s Internet site njcourts.gov under the section for Forms. If you decide to file an answer to the
complaint made against you:

0 Fill out the Answer form AND pay the applicable filing fee by check or money order payable to: Treasurer, State ofNew Jersey.
Include BER-DC-016795-18 (your Docket Number) on the check.
Mail or hand deliver the completed Answer form and the check or money order to the court’s address listed above,
Hand deliver or send by regular mail a copy of the completed Answer form to the plaintiff’s attorney. If the plaintiff does not have
an attorncy, send your completed answer form to the plaintiff by regular and certified mail. This MUST be done at the same time
you file your Answer With the court on or before 02/19/2019.

2. Resolve the dispute Contact the plaintiffs attorney, or contact the plaintiff if the plaintiff does not have an attorney, to resolve this

dispute The plaintiff may agree to accept payment arrangements If you reach an agreement, mail or hand deliver the SIGNED
agreement to the court’s address listed above on or before 02/19/2019.

Please Note - You may wish to get an attorney to represent you. If you cannot afford to pay for an attomey, free legal advice may be
available by contacting Legal Services at 201-487-2166. If you can afford to pay an attorney but do not know one, you may call the Lawyer
Referral Services of your local County Bar Association at 201-488-0044. Notify the court now if you need an interpreter or an
accommodation for a disability for any future court appearance

/S/ Michelle Smith
Clerk of the Superior Court

 

 

 

 

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Direccion y teléfono del tribunal El Tribunal Superior de Nueva Jersey
Parte Civil Especial de BERGEN Divisi()n de Derecho, Parte Civil Especial
10 MAIN STREET, ROOM 427 Condado de BERGEN
HACKENSACK, NJ 07601-000() Numero del expediente BER-DC-016795-18
201-221-0700 Demanda de Acci()n Civil
NOTIFICACION DE DEMANDA
CONTRACT DISPUTE

 

 

;LE ESTAN DEMANDANDo!

 

Persona 0 entidad comercial que le esta demandando (el Persona o comercial ser demandada (el demandadoj

 

 

 

 

demandan[ei NISSAN-INFlNITI LT
HAROLD M HOFFMAN

La persona 0 comercial que le esta demandando afirma que
Informacion sobre el abogado del de_ms_lndante usted le debe lo siguiente:
HAROLD M HOFFMAN Cantidad a la vista $15000.00
HAROLD M. HOFFMAN Tasa judicial $.00
240 GRAND AVE Cargo del emplazamiento $.00
ENGLEWOOD, NJ 07631-4352 Honorarios del abogado $0.00
201-569-0036 TOTAL $15000.00

PARA uso EXCLuSlvo DEL PoDER JUDlClAL

En la demanda adjunta la persona o entidad comercial que le esta demandando le informa brevemente al juez su version de los hechos de la
causa y la suma de dinero que afirma que usted le debe Si usted no responde a la demanda puede perder la causa automaticamente y el
juez puede dar al demandante lo que esta pidiendo mas intereses y los costos legales. Usted tiene 35 dias a partir de la fecha del
emplazamiento para presentar su respuesta o un acuerdo flrmado. Si se dicta un fallo en su contra, un Oficial de la Parte Civil Especial

puede embargar su dinero, sueldo o sus bienes muebles (personales) para pagar todo el fallo o una parte del mismo. El fallo es valido por 20
anos.

SI USTED NO ESTA DE ACUERDO CON LAS ALEGACIONES DEL DEMANDANTE, EL TRIBUNAL TIENE QUE RECIBIR
UNA RESPUESTA POR ESCRITO O UN ACUERDO FIRMADO PARA EL 02/19/2019 O ANTES DE ESA FECHA, O EL JUEZ
PUEDE EMITIR UN FALLO EN SU CONTRA. SI USTED NO ESTA DE ACUERDO CON EL DEMANDANTE, DEBE HACER
M DE LAS SlGUIENTES COSAS 0 LAS DOS:

1. Responder a la demanda. Un formulario de respuesta que le explicara como responder a la demanda esta disponible en cualquiera de las
Oficinas de la Parte Civil Especial de Nueva Jersey o en el sitio lntemet del Poder Judicial njcourts.gcmba_jo la seccic')n de formularios
(Forms). Si usted decide presentar una respuesta a la demanda que se hizo en su contra:

0 Llene el formulario de Respuesta Y pague la tasa judicial de presentacion que corresponda mediante un cheque o giro bancario o
postal acreditable al: "Treasurer, State of New Jersey " (Tesorero del Estado de Nueva Jersey). lncluya
BER-DC-016795-18 (el numero de su expediente) en el cheque.

¢ Envie por correo el formulario de Repuesta llenado y el cheque 0 giro bancario o postal ala direccion del tribunal que figura mas
arriba, o entréguelos personalmente en dicha direccion.

o Entregue personalmente o envie por correo comun una copia del formulario de Repuesta llenado al abogado del demandante Si el
demandante no tiene abogado, envie su fonnulario de respuesta llenado al demandante por correo comi'm y por correo certificado.
Esto SE TIENE que hacer al mismo tiempo que presente su Respuesta al tribunal a mas tardar el 02/19/2019.

2. Resolver la disputa. Comuniquese con el abogado del demandante, o con el demandante si éste no tiene abogado, para resolver esta
disputa. El demandante puede estar de acuerdo con aceptar aneglos de pago. Si llegara a un acuerdo, envie por correo o entregar
personalmente el acuerdo FIRMADO a la direccit')n del tribunal que figure mas arriba, o entréguelo personalmente en dicha
direcci<')n a mas tardar el 02/19/2019.

Nota - Puede que usted quiera conseguir que un abogado para que lo represente. Si usted no puede pagar a un abogado, podria obtener
consejos legales gratuitos si se comunica con Legal Services (Servicios Legales) llamando al 201-487-2166. Si usted puede pagar a un
abogado, pero no conoco a ninguno, puede llamar al Lawyer Referral Services (Servicios de Recomendacion de Abogados) del Colegio de
Abogados (Bar Association) de su condado local al 201-488-0044. Notifique al tribunal ahora si usted necesita un intérprete o un arreglo por
una discapacidad para cualquier comparecencia futura en el tribunal.

/S/ Michelle Smith

Subsecretario[al del Tribunal Superior

 

 

 

 

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SUPER|OR COURT OF NEW JERSEY - eCOURTS

The following clerk notice is being sent from eCourts:

Plaintiff Name: HAROLD M HOFFMAN

Defendant Name: NlSSAN-|NF|N|T| LT

Case Caption: HOFFMAN VS NlSSAN-|NF|N|T| LT

Case Number: BER DC 016795-18

Docket Text: CLERK NOTlCE: re: AMENDED COlVlPLAlNT SCP20182942841 -Duplicate.
Transaction |D: SCP201946105

Notice has been electronically mailed to:
Plaintiff Attorney HAROLD M HOFFMAN HOFFMAN.ESQ@VER|ZON.NET
HAROLDHOFFMANESQ@GMAIL.COM

Notice was not electronically mailed to:
Defendant NlSSAN-|NFIN|T| LT C/O VVILN||NGTON TRUST COMPANY, RODNEY SQUARE N., 1100 N.

MARKET ST., VVILMINGTON, DE 19890
Login to eCourts to view the Case Jacket. You will need a valid user |D (Bar |D) to view the submitted documents.
For questions, please contact the Superior Court Special Civil Part in county of venue..

This communication is for notiication purposes only.

This emai| was sent from a notincation-only address that cannot accept incoming mai|. Please do not reply to this message.

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BERGEN SPECIAL CIVIL PART
BERGEN COUNTY COURTHOUSE
BERGEN COUNTY JUSTICE CENTER
HACKENSACK NJ 07601-7680
(201) 221-0700
CASE NUMBER:
BER DC~016795~18
HOFFMAN :
VS CV0211 : JANUARY 07, 2019
NISSAN-INFINITI LT '

A SUMMONS WAS MAILED TO : HAROLD M HOFFMAN

NISSAN-INFINITI LT : HAROLD M. HOFFMAN
ON 01-09-19 FOR : 240 GRAND AVE
CASE DC-016795-1B. .

UNLESS OTHERWISE NOTIFIED, : ENGLEWOOD NJ

THIS CASE WILL DEFAULT .
ON 02-19-2019. : 07631-4352

Case 2:19-cv-01046-KSH-CLW Document 1-1 Filed 01/24/19 Page 75 of 106 Page|D: 83

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Case 2:19-cv-01046-KSH-CLW Document 1-1 Filed 01/24/19 Page 76 of 106 Page|D: 84
BER-DC-016795-18 01/21/2019 4:28:22 Pl\/l Pg 1 of2 Trans |D: SCP2019167728

HAROLD M. HOFFMAN, ESQ.
ATTORNEY ID # 006531984
240 GRAND AVENUE
ENGLEWOOD, NJ 07631
(201) 569-0086

HOFFMAN, ES¢. ‘@VERIZON.NET
ATTORNEY FOR PLAINTIFF

 

HAROLD M. HOFFMAN, individually and on
behalf of those similarly situated,

Plaintiff,
-against-
NISSAN-INFINITI LT,

Defendant

 

 

SUPERIOR COURT OF NEW JERSEY
BERGEN COUNTY
SPECIAL CIVIL PART

DOCKET NO.: BER-DC-16795-18

CIVIL ACTION

PLAINTIFF’S CERTIFICATION, PURSUANT TO RULE 6:4-1(b),
FOR REMOVAL OF THIS ACTION TO THE CIVIL PART
OF THE BERGEN COUNTY LAW DIVISION

Harold M. Hoffman, hereby certifies as follows:

1. I am the named Plaintiff in this Civil action. I am also admitted to practice

before the courts of this State. l respectfully submit this certification, on personal

knowledge in support of my application under Rule 6:4-l(b) for removal of this action

to the Civil Part of the Bergen County Law Division, on the ground that the amount of

Case 2:19-cv-01046-KSH-CLW Document 1-1 Filed 01/24/19 Page 77 of 106 Page|D: 85
BER~DC-016795-18 01/21/2019 4:28:22 Pl\/l Pg 2 of2 Trans |D: SCP2019167728

the claim, as stated in Plaintiff’s Amended Complaint, When established by proof, Will
exceed the sum or value constituting the monetary limit of the Special Civil Part.

2. This Certification is filed in good faith and not for the purpose of delay. This
case is in a Very early stage. Indeed, Defendant, Which has appeared by counsel, has not
yet filed its Answer to the Amended Complaint

3. As required by Rule 6:4-1(b), Plaintiff intends to file and serve his motion for
transfer in the Bergen County LaW Division,

I certify that the foregoing statements made by me are true. I am aware that if

any of the foregoing statements made by me are Wilfully false, l am subject to

punishment d @L'd

Harold M. Hoffman

 

Dated: January 21, 2019

Case 2:19-cv-01046-KSH-CLW Document 1-1 Filed 01/24/19 Page 78 of 106 Page|D: 86

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Case 2:19-cv-01046-KSH-CLW Document1-1 Filed 01/24/19

Case Number: BER L-000561-19

Case Caption: Hoffman Harold Vs Nissan-lnfiniti Lt

Court: Civil Part

Case Type: Contract/Coi'nmercia| Transaction

Case Track: 2

Origina| Discovery End Date:
Original Arbitration Date:
Origina| Trial Date:
Disposition Date:

Plaintiffs

Harold M Hoffman

Party Description: Attorney
Address Line 1: 240 Grand Ave

City: Eng|ewood State: NJ
Attorney Email: HOFFMAN.ESQ@VERIZON.NET

Defendants
Nissan-lrifiniti Lt
Party Description: Corp

Address Line 1: C/O Thomas J. Sateary, Esq.

City: Westfie|d State: NJ

Attorney Email:

Case Actions

Case Summary

Venue: Bergen

Case Status: Active

Judge: John D Odwyer
Current Discovery End Date:
Current Arbitration Date:
Current Tria| Date:

Case Disposition: Open

Address Line 2:

Zip: 07631

Address Line 2: 53 Cardina| Dr.
Zip: 07091

Page 79 of 106 Page|D: 87

Case Initiation Date: 01/22/2019
Jury Demand: None

Team: 2

# of DED Extensions: 0

# of Arb Adjournments: 0

# of Tria| Date Adjournments: 0

Statewide Lien: No

Attorney Name: Harold M Hoffman
Attorney Bar lD: 006531984

Phone: (201) 569-0086

Attorney Name:
Attorney Bar |D:

Phone: (908) 233-6800

 

 

 

 

 

 

Filed Date Docket Text Transaction |D Entry Date
Notice br ivibiibn for BER-L-000561-19 submitted by HOFFMAN, HAROLD ivi, HAROLD M.

1’22/2019 HOFFMAN bn behaifbf HAROLD ivi HOFFMAN against NissAN-iNFiNiTi LT LCV2019135147 1/22/2019
cERTiFicATiON submitted by Hoi=Fi\/iAN, HARoi_D, ivi br HAROLD M. HOFFMAN on

1’22/2019 behalf br H§Roi_o ivi HOFFMAN against NissAN-iNFiNiTi LT _ LCV2019135204 1/22/2019

 

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HAROLD M. HOFFMAN, ESQ.
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MM_;_\N.ESQ@vERiZON.NET
ATTORNEr FOR PLAiNTiFF

 

SUPERIOR COURT OF NEW JERSEY

BERGEN COUNTY
LAW DIVISION
HAROLD M. HOFFMAN, individually and on D k t N BER L 1
behalf of those similarly situated, oc e o' ' ___ 9
Plaintiff/ [Case Presently Pending in
SPECIAL CIVIL PART
-against- DOCKET NO.: BER-DC-l6795-18]
NISSAN-INFINITI LT,
CIVIL ACTION

Defendant

 

 

NOTICE OF MOTION FOR TRANSFER TO THE LAW DIVISION
OF A CIVIL ACTION PENDING IN SPECIAL CIVIL PART

PLEASE TAKE NOTICE that on a date and time to be fixed by the Court,
Plaintiff will move for an order pursuant to R. 6:4-1(b) transferring this action, presently
pending in Special Civil Part, to the Law Division on the ground that the amount of the
claim, as stated in Plaintiff’s Amended Complaint when established by proof, Will exceed

the sum or value constituting the monetary limit of the Special Civil Part.

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PLEASE TAKE FURTHER NOTICE that in support of his motion, Plaintiff will
rely upon the accompanying Certification, with exhibits
PLEASE TAKE FURTHER NOTICE that pursuant to R. 1:6-2, a proposed form of

Order is submitted herewith.

PLEASE TAKE FURTHER NOTICE that oral argument is respectfully requested

in the event that opposition to this motion is timely filed.

A@Ye

Harold M. Hoffman

 

Dated: ]anuary 22, 2019

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HAROLD M. HOFFMAN, ESQ.
ATroRi\iEY ID # 006531984
240 GRAND AVENUE
ENGLEWOOD, N] 07631

(201) 569-0086
HOFFMAN.EsQ@vERizoN.NET
ATTORNEY FOR PLAiNTii-'F

 

HAROLD M. HOFFMAN, individually and on
behalf of those similarly situated,

Plaintiff,
-against-
NISSAN-INFINITI LT,

Defend ant.

 

 

SUPERIOR COURT OF NEW JERSEY
BERGEN COUN'IY
SPECIAL CIVIL PART

DOCKET NO.: BER-DC-16795-18

CIVIL ACTION

PLAINTIFF’S CERTIFICATION, PURSUANT TO RULE 6:4-1(b),
FOR REMOVAL OF THIS ACTION TO THE CIVIL PART
OF THE BERGEN COUNTY LAW DIVISION

Harold M. Hoffman, hereby certifies as follows:

1. l am the named Plaintiff in this civil action. I am also admitted to practice

before the courts of this State. l respectfully submit this certification, on personal

knowledge, in support of my application under Rule 6:4-1(b) for removal of this action

to the Civil Part of the Bergen County Law Division, on the ground that the amount of

Case 2:19-0v-01046-KSH-CLW Document 1-1 Filed 01/24/19 Page 84 of 106 Page|D: 92
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the claim, as stated in Plaintiff's Amended Complaint, when established by proof, will
exceed the sum or value constituting the monetary limit of the Special Civil Part.

2. This Certification is filed in good faith and not for the purpose of delay. This
case is in a very early stage. Indeed, Defendant, which has appeared by counsel, has not
yet filed its Answer to the Amended Complaint

3. As required by Rule 6:4~1(b), Plaintiff intends to file and serve his motion for
transfer in the Bergen County Law Division,

l Certify that the foregoing statements made by me are true. I am aware that if

any of the foregoing statements made by me are Wilfully false, l am subject to

punishment % Y(/

Harold M. Hoffman

 

Dated: ]anuary 21, 2019

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HAROLD M. HOFFMAN, EsQ.
ATTORNEY ID # 006531984

240 GRAND Avi=.i\iue
ENGLEWOOD, N] 07631

(201) 569-0086
rior_rMAN.i~:so@vERizoi\i.i\isr_

 

 

ATTORNEY FOR PLAINTIFF

SUPERIOR COURT OF NEW JERSEY
BERGEN COUNTY
LAW DIVISION

HAROLD M. HOFFMAN, individually and on

behalf of those similarly situated, Docket N°' BER'L'_'19

Plaintiff, [Case Presently Pending in
SPECIAL CIVIL PART
-against- DOCKET NO.: BER-DC-16795-18]

NISSAN-INFINITI LT,

CIVIL ACTION
Defendant

[PROPOSED] ORDER

 

 

THIS MATTER having come before the Court on motion of Plaintiff, and the
Court having considered the papers and submissions of all parties and the arguments of
counsel; and good cause appearing, now therefor,

IT IS on this day of February, 2019,

ORDERED as follows:

Case 2:19-0v-01046-KSH-CLW Dochent1-1 Fi|e 01/24/19 Pa

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1. Plaintiff's motion pursuant to R. 624-1(b) is granted, and the pending Special
Civil Part action denominated as DOCKET NO.: BER-DC-16795-18 shall be removed
and transferred to the Bergen County Law Division.

2. The Special Civil Part shall transmit all papers on file, together with copies
thereof, to the Bergen County Law Division.

3. A copy of this Order shall be served on all counsel within seven (7) days of

receipt thereof by Plaintiff.

 

J.s.c.

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CERTIFICATION OF SERVICE
I, Harold M. Hoffman, Esq., hereby certify that the attached Moving Papers on
Plaintiff's Motion to remove / transfer Special Civil Part action to the Bergen County
Law Division, were served upon counsel for defendant on ]anuary 22, 2019, via prepaid,
first class mail, addressed to:

Thomas ]. Sateary, Esq.
Lindabury, McCormicl<, Estabrook & Cooper, P.C.

53 Cardinal Drive

P.C). Box 2369

Westfield, N] 07091-2369

I certify that the foregoing statements made by me are true. l am aware that if

any of the foregoing statements made by me are wilfully false, I am subject to

punishment

% Ye

HAROLD M. HOFFMAN, ESQ.

 

Dated: ]anuary 22, 2019

Case 2:19-0Ev-01046- KS|-|- CLW Document 1-1 Filed 01/24/19 Pa e8 8011c Page|D: 96
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HAROLD M. HOFFMAN, ESQ.
ArroRNEY iD # 006531984
240 GRAND AVENUE
ENGLEWOOD, i\iJ 07631
(201) 569-0086

HOFFMAN,ES'. J@VERIZON.NET
ATTORNEY FOR PLA]NTIFF

 

 

SUPERIOR COURT OF NEW ]ERSEY
BERGEN COUNTY

HAROLD ivi. HOFFMAN, individually and bn SPECIAL CIVIL PART

behalf of those similarly situated,
DOCKET NO.: BER-DC-16795-18

Plaintiff,
-against- CIVIL ACTION
NISSAN'INFINITI LT, AMENDED COMPLAINT AND ]URY
DEMAND IN CLASS ACTION
Defendant

 

 

OVERVIEW
By this civil action, Plaintiff brings claims on his own behalf and on behalf of
those similarly situated (the "Class"), to redress financial injury inflicted by Defendant
on its vehicle lessees throughout the nation by way of an orchestrated and cynically
executed scam, carried out through misrepresentation, deception and material
concealment The goal of the scam, which has vastly enriched Defendant, was to dupe
lessees of Defendant’s vehicles into paying arbitrary and indeed fabricated ”excessive

wear and use" charges at the conclusion of a vehicle lease term.

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As we show, Defendant’s conduct and scheme stands ”outside the norm of
reasonable business practice.” See, TurfLawnmower Repair, Inc. v. Bergen Record Corp.,
139 N.]. 392, 416 (1995), cert. denied, 516 U.S. 1066 (1996). See also, Van Holt v. Liberty Mut.
Fire Ins. Co., 163 F.3d 161 (3d Cir. 1998) (lack of full disclosure and honesty constitutes
an unconscionable practice under the New Jersey Consumer Fraud Act).

The putative class comprises nationwide lessees of Nissan/lnfiniti vehicles,
during the six year period preceding the filing of this suit, whose leases concluded with
an assessment by Defendant of charges labeled as ”excessive wear and use" of the
leased vehicle. 4

1. At all times relevant, Plaintiff Harold M. Hojj:man was a resident of Bergen

County New ]ersey.

2. At all times relevant, Defendant Nissan-Infinz`ti LT was a trust and/or
corporation organized and existing pursuant to the laws of the State of Delaware with its

principal place of business located in Franklin, TN.

3. Defendant advertised, marketed, distributed and leased its vehicles in

commerce throughout the United States, including the State of New ]ersey.

4. At all relevant times, Plaintiff was a vehicle lessee, with a residence in the

State of New ]ersey, County of Bergen.

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5. At all relevant times, Defendant constituted a ”person” as defined in the New

Jersey Consumer Fraud Act, N.].S.A. 56:8~1(d).

6. ln May of 2015, Plaintiff leased a 2015 lnfiniti Q50 sedan, for a 39-rnonth lease
term, from an Infiniti dealership called Kings lnfiniti, Inc. (”Kings”), located in Brooklyn,
New York. In that connection, Plaintiff and Kings entered into a written lease agreement
dated May 26, 2015 (the ”Lease”). Thereafter, Kings, as Lessor, assigned its interest in the

Lease to Defendant The Lease concluded, by its terms, in August of 2018.

7 . The Lease, in a mandatory form prepared and utilized by Defendant for all
of its vehicle leases, provides that Defendant may, at the end of the lease term, assess and
bill charges related to ”excessive wear and use” of the leased vehicle, The term excessive
wear and use is not defined and/or distinguished from ordinary wear and use of a vehicle

during the term of the lease.

8. Defendant had the Plaintiff's leased vehicle inspected in August 2018 and
thereafter billed the Plaintiff, in September of 2018, for alleged excessive wear and use in a

sum exceeding $1,200.00.

9. As noted, the Lease fails to define the term excessive wear and ase, or to

distinguish it, in any fashion, from ordinary and/ or customary wear and use attributable to

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a vehicle in ordinary and/or customary use for a 39-month lease period.

10. The wear and use found by Defendant to constitute excessive wear and use,
resulting in charges to Plaintiff exceeding $1,200.00, was an arbitrary, self-serving finding

by Defendant

11. The wear and use found by Defendant to constitute excessive wear and nse,
resulting in charges to Plaintiff exceeding $1,200.00, was not "excessive,” but rather normal,
ordinary and customary wear and use of a vehicle in use by a lessee over the course of a

39-month lease period.

12. Defendant expends no sum at all devoted to repair of leased vehicles,
including but not limited to Plaintiff's leased vehicle, attributable to the arbitrary, bogus
and fabricated excessive wear and use charges that Defendant customarily imposes on vehicle

lessees at the end of the lease term.

13. Defendant, at the end of vehicle lease terms, sells its leased vehicles at
periodic mass auction. The sales price derived by Defendant for previously leased Vehicles
sold at such auctions is not diminished by the arbitrary, bo gus and fabricated excessive wear

and use charges that Defendant imposes on vehicle lessees at the end of lease terms.

14. Defendant’s excessive wear and use scam, as outlined above, is an artifice

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employed by Defendant to profit at the expense of its lessees, including Plaintiff, in breach

of its lease agreements with its lessees, including but not limited to Plaintiff herein.

15. Defendant’s excessive wear and use scam, as outlined above, is an artifice
employed by Defendant to illicitly exploit and financially defraud its lessees, including but

not limited to the Plaintiff herein.

16. Defendant’s excessive wear and use scam, as outlined above, violates the New

]ersey Consumer Fraud Act.

17. Defendant’s excessive wear and use scam, as outlined above, has enabled
Defendant to dupe its hard-working vehicle lessees out of millions of dollars during the

class period.

18. Plaintiff brings this suit to recover funds taken by Defendant as a

consequence of its excessive wear and use scam.

19. Lessees of Defendant’s vehicles had the right to rely on Defendant’s integrity
in executing vehicle leases and are entitled to be protected from paying subjectively
fabricated charges for alleged excessive wear and use of a leased vehicle which differs in no

material respect from ordinary wear and use that eventuates during a vehicle lease term.

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20. U.S. consumers made leasing decisions and did, in fact, enter into leases with
Defendant in reliance upon Defendant’s reputation and integrity, and confidence that
cooked-up, fabricated charges would not be inflicted upon them at the conclusion of the

lease period.

21. Defendant has affirmatively misrepresented and misapplied, for its own

pecuniary benefit, the so-called excessive wear and use provision of its vehicle Leases.

22. Defendant’s promises and representations concerning the terms of its vehicle

Leases and the attendant excessive wear and use charges are illegal, false and constitute a
deception; a misrepresentation,' an unconscionable trade practice; a sharp and deceitful

marketplace practice, and are a false promise.

23. Defendant’s promises and representations concerning the terms of its vehicle
Leases and attendant excessive wear and use charges result in nationwide vehicle lessees

being subjected to misrepresentation, false promise, fraud, deceit, trickery and falsehood

24. Defendant has made affirmative misrepresentations and has engaged in
concealment of material facts in connection with its vehicle leases and attendant excessive

wear and use charges .

25. Members of the putative class suffered ascertainable loss in the form of actual

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out of pocket payment and expenditure, as aforesaid, as a result of Defendants’ unlawful

conduct as aforesaid.

26. There is a direct causal relationship between the Defendant’s scam and the

loss suffered by plaintiff and class members

CLASS ALLEGATIONS

 

27. Plaintiff brings this suit as a class action individually and in behalf of others
similarly situated pursuant to New ]ersey Court Rule 4:32. Subject to additional
information obtained through further investigation and/or discovery, the definition of the
Class may be expanded or narrowed. The proposed Class consists of nationwide lessees
of Nissan/lnfiniti vehicles, during the six year period preceding the filing of this suit, whose
leases concluded with an assessment by Defendant of arbitrary charges labeled as
”excessive wear and use” of the leased vehicle, This action has been brought and may
properly be maintained as a class action pursuant to New ]ersey Court Rule 4:32.

Numerosity: The members of the Class are so numerous that joinder of all members
is impracticable The Class is comprised vehicle lessees throughout the United States.

Commonality: Common questions of law and fact exist as to all members of the

Class. These common questions predominate over the questions affecting only individual

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Class members and focus on the arbitrary imposition of so-called excessive wear and use
charges

Typicality: Plaintiff's claims are typical of the claims of the members of the Class
as all members of the Class are similarly affected by Defendants’ wrongful conduct
Plaintiff, like other members of the Class, was subjected to arbitrary, excessive wear and

use charges Plaintiff is advancing claims and legal theories typical to the Class.

Adequacy: Plaintiff's claims are made in a representative capacity on behalf of all
members of the Class. Plaintiff has no interests antagonistic to the interests of the other

members of the proposed Class and is subject to no unique defenses.

28. Plaintiff is similarly situated in interest to all members of the proposed
Class and is committed to the vigorous prosecution of this action. Accordingly, Plaintiff
is an adequate representative of the proposed Class and Will fairly and adequately
protect the interests of the Class. Plaintiff is also an experienced attorney who has been
previously appointed class counsel for certified classes of consumers by both state and
federal courts Thus, Plaintiff is a qualified and suitable attorney to also serve as class
counsel, Should the Court require same as a condition to class certification, Plaintiff is

prepared to identify a suitable alternative class representative

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29. This suit may be maintained as a class action because Defendant has acted,
and/or have refused to act, on grounds generally applicable to the Class, thereby

making final relief appropriate

30. Plaintiff does not presently seek injunctive relief.

31. Superiority: In addition, this suit may be maintained as a class action
because a class action is superior to all other available methods for the fair and efficient
adjudication of this controversy, since joinder of all members is impracticable The
claims asserted herein are applicable to vehicle lessees throughout the United States
who leased vehicles from Defendant The injury suffered by each individual class
member is relatively small in comparison to the burden and expense of individual
prosecution of the complex and extensive litigation necessitated by Defendant’s
conduct lt would be virtually impossible for members of the Class individually
effectively and cost-efficiently to redress Defendant’s wrongful conduct Individual
litigation would enhance delay and expense to all parties The class action device
presents far fewer management difficulties and provides the benefits of single

adjudication, economy of scale, and comprehensive supervision by a single court.

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COUNT I

32. Plaintiff repeats and realleges the prior allegations of this complaint as if

fully set forth at length.

33. Defendant’s conduct constitutes an unconscionable commercial practice in

violation of the New Jersey Consumer Fraud Act, N.].S.A. 56:8-2.

33. As a proximate result of Defendant’s conduct, plaintiff and members of

the class were damaged.

WHEREFORE, plaintiff, individually and in behalf of the class, demands
judgment against the Defendant for treble damages together with pre-judgment and
post-judgment interest, fees, costs, attorney's fees, and any other and further relief as
the Court deems just and proper.

COUNT II

34. Plaintiff repeats and realleges the prior allegations of this complaint as if
fully set forth at length.

35. Defendant’s conduct constitutes deception in violation of the New ]ersey

Consumer Fraud Act, N.].S.A. 56:8-2.

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36. As a proximate result of Defendant'S conduct, plaintiff and members of
the class were damaged.

WHEREFORE, plaintiff, individually and in behalf of the class, demands
judgment against the Defendant for treble damages together with pre-judgment and
post-judgment interest, fees, costs, attorney's fees, and any other and further relief as
the Court deems just and proper.

COUNT III

37. Plaintiff repeats and realleges the prior allegations of this Complaint as if
fully set forth at length.

38. Defendant’s Conduct constitutes fraud in violation of the New Jersey
Consumer Fraud Act, N.].S.A. 56:8-2.

39. As a proximate result of Defendant’s conduct, plaintiff and members of
the class were damaged

WHEREFORE, plaintiff, individually and in behalf of the class, demands
judgment against the Defendant for treble damages together with pre-judgment and
post-judgment interest, fees, costs, attorney's fees, and any other and further relief as

the Court deems just and proper.

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COUNT IV

40. Plaintiff repeats and realleges the prior allegations of this complaint as if
fully set forth at length.

41. Defendant’s conduct constitutes false pretense false promise and/or
misrepresentation, in violation of the New ]ersey Consumer Fraud Act, N.].S.A. 56:8-2.

42. As a proximate result of Defendant’s conduct, plaintiff and members of
the class were damaged.

WHEREFORE, plaintiff, individually and in behalf of the class, demands
judgment against the Defendant for treble damages together with pre-judgment and
post-judgment interest, fees, costs, attorney's fees, and any other and further relief as
the Court deems just and proper.

COUNT V

43. Plaintiff repeats and realleges the prior allegations of this complaint as if
fully set forth at length.

44. Defendant’s conduct constitutes knowing concealment suppression
and/or omission of material facts with the intent that others, including members of the
plaintiff-class, rely upon such concealment, suppression and/or omission, in connection
with the sale or advertisement of any merchandise in violation of the New Jersey

Consumer Fraud Act, N.].S.A. 56:8-2.

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45. As a proximate result of Defendant’s conduct, plaintiff and members of
the class Were damaged

WHEREFORE, plaintiff, individually and in behalf of the class, demands
judgment against the Defendant for treble damages together with pre-judgment and
post-judgment interest, fees, costs, attorney's fees, and any other and further relief as
the Court deems just and proper.

]URY DEMAND
Demand is hereby made for trial by jury as to all issues
TRIAL COUNSEL DESIGNATION

Pursuant to Rule 4:25-4, the Court is respectfully advised that Harold M.

Hoffman, Esq., is hereby designated as trial counsel in behalf of plaintiff,
CERTIFICATlON PURSUANT TO RULE 4_:5-1

Harold M. Hoffman, counsel for plaintiff, hereby certifies that the matter in
controversy is not the subject of any other known pending action in this or any other
Court or any pending arbitration, nor is any other action or arbitration known to be
contemplated At this time, no other known party, other than members of the class, are

anticipated for joinder.

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I certify that the foregoing is true to the best of my knowledge l arn aware that

if any of the foregoing is wilfully false, l am subject to punishment

%Yi»

 

Harold M. Hoffman, Esq.
Counsel for Plaintiff
Dated: December 27, 2018

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ATTORNEY FOR PLAINTIFF

 

HAROLD M. HOFFMAN, individually and on
behalf of those similarly situated,

Plaintiff,
-against-
NISSAN-INFINITI LT,

Defendant,

 

 

SUPERIOR COURT OF NEW JERSEY
BERGEN COUNTY
LAW DIVISION

Docket No. BER-L- -19
[Case Presently Pending in

SPECIAL CIVIL PART
DOCKET NO.: BER-DC-16795-18]

CIVIL ACTION

PLAINTIFF’S C_QKRECTED CERTIFICATION IN SUPPORT OF
MOTION FOR REMOVAL OF THIS ACTION TO THE CIVIL PART OF
THE BERGEN COUNTY LAW DIVISION PURSUANT TO RULE 6:4-1(b)

Harold M. Hoffman, hereby certifies as follows:

1. l am the named Plaintiff in this civil action. l arn also admitted to practice

before the courts of this State l respectfully submit this certification, on personal

knowledge, in support of my application under Rule 6:4-1(b), for removal / transfer of

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this action to the Civil Part of the Bergen County Law Division, on the ground that the
amount of the claim, as stated in Plaintiff's Amended Complaint when established by
proof, will exceed the sum or value constituting the monetary limit of the Special Civil
Part

2. As required by R. 6:4-1(b), on ]anuary 21, 2019, I served counsel for Defendant
and filed in the Special Civil Part a certification stating my belief that the amount of the
claim alleged in the Amended Complaint when established by proof, will exceed the
sum or value constituting the monetary limit of the Special Civil Part, and further
certifying that my filing was made in good faith and not for the purpose of delay.

3. This case is at a very early stage l\/Iy original complaint was filed in Special
Civil Part on October 19, 2018. The original complaint alleged that Defendant Nissan-
lnfiniti LT had engaged in a fraudulent scheme to defraud the Plaintiff, a lessee of an
Infiniti motor vehicle, by charging sums at the end of the lease term falsely attributable
to excessive wear and use of the vehicle

4. The vehicle lease signed by the parties fails to define the term excessive wear
and use, or to distinguish it in any fashion, from ordinary and/or customary wear and use
attributable to a vehicle in ordinary and customary use for a 39-month lease period The
original complaint alleged that Defendant expends no sums at all devoted to repair of

its leased vehicles including but not limited to Plaintiff's leased vehicle, attributable to

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the arbitrary, bogus and fabricated excessive wear and use charges that Defendant
imposes; and, that Defendant is using the excessive wear and use clause as a scheme to
defraud its vehicle lessees, including Plaintiff.

5. Defendant defaulted on November 30, 2018,

6. Approximately fifteen days later, I was contacted by Defendant’s retained
counsel who sought my consent to vacate Defendant’s default I consented, but while
Defendant’s application for relief from default was pending in Special Civil Part, on
December 27, 2018, I filed an Amended Complaint

7 . The Amended Complaint (Exhibit A hereto) brings putative class claims
seeking relief in behalf of all Nissan-lnfiniti vehicle lessees, during the six year period
preceding suit, who suffered financial injury inflicted by Defendant by way of its
orchestrated and cynically executed scam to enrich itself by duping lessees of
Defendant’s vehicles into paying arbitrary and indeed fabricated ”excessive wear and
use" charges at the conclusion of a vehicle lease term.

8. Recovery under the claims asserted in the Amended Complaint when
established by proof, will exceed the Special Civil Part monetary limit - requiring the
filing of the instant motion. And, as noted, this case is at a very early stage Indeed,

Defendant has not yet filed its Answer to the Amended Complaint

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9. Plaintiff's entitlement to the requested transfer to the Law Division is well
supported by the governing rule and by the commentary of judge Pressler on the
application of Rule 614-1(b). See, Pressler, Current N,]. Court Rules, comment 3 on R. 6:4-1
(2002):

The rule is intended to permit a transfer at any time prior to trial and even after

the statute of limitations on the original action has run... The motion for transfer

should be routinely granted if the defendant will not be prejudiced thereby, and
it has been held that neither the increased costs of defending an upper court
action nor the intervening running of the statute of limitations constitutes such
prejudice Fusco v. Hale Furniture Co., 95 N.].Super. 539 (App.Div.1967).

10. Here, there is no prejudice Indeed, Defendant has yet to answer the
Amended Complaint

11. For the foregoing reasons it is respectfully requested that transfer to the Law
Division be granted

l certify that the foregoing statements made by me are true. l am aware that if

any of the foregoing statements made by me are wilfully false, l am subject to

punishment d YL/

Harold l\/l. Hoffman

 

Dated: ]anuary 22, 2019

